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                        UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MASSACHUSETTS


StandWithUs Center for Legal Justice,
Katerina Boukin, and Marilyn Meyers,     Case No.

      Plaintiffs,

v.

Massachusetts Institute of Technology,   COMPLAINT AND DEMAND FOR
                                         JURY TRIAL
      Defendant.
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                               PRELIMINARY STATEMENT

       1.     Antisemitism on college campuses, and specifically at the Massachusetts Institute

of Technology (“MIT”), has been on the rise in recent years—even before October 7, 2023, when

Hamas terrorists invaded Israel and carried out the deadliest attack against Jews since the

Holocaust.

       2.     President Biden described the magnitude of the attacks against Israel in a speech

on October 10, 2023:

              You know, there are moments in this life — and I mean this literally — when the
              pure, unadulterated evil is unleashed on this world.

              The people of Israel lived through one such moment this weekend. The bloody
              hands of the terrorist organization Hamas — a group whose stated purpose for being
              is to kill Jews.

              This was an act of sheer evil.

              More than 1,000 civilians slaughtered — not just killed, slaughtered — in
              Israel. Among them, at least 14 American citizens killed.

              Parents butchered using their bodies to try to protect their children.

              Stomach-turning reports of being — babies being killed.

              Entire families slain.

              Young people massacred while attending a musical festival to celebrate peace —
              to celebrate peace.

              Women            raped,          assaulted,        paraded           as        trophies.

              Families hid their fear for hours and hours, desperately trying to keep their children
              quiet              to              avoid             drawing                attention.

              And thousands of wounded, alive but carrying with them the bullet holes and the
              shrapnel   wounds    and     the    memory      of   what     they     endured.

              You        all      know         these        traumas        never        go     away.

              There are still so many families desperately waiting to hear the fate of their loved



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               ones,    not    knowing      if    they’re    alive    or    dead     or    hostages.

               Infants in their mothers’ arms, grandparents in wheelchairs, Holocaust survivors
               abducted and held hostage — hostages whom Hamas has now threatened to execute
               in      violation     of      every      code      of      human       morality.

               It’s                                                                       abhorrent.

               The brutality of Hamas — this bloodthirstiness — brings to mind the worst — the
               worst                   rampages                     of                   ISIS.

               This is terrorism.1

       3.      In the wake of the atrocities of October 7, 2023, the world changed, and so, too, did

the experience of students, including and especially Jewish students, at MIT.

       4.      October 7, 2023, should have been a day of mourning and solidarity. Instead,

students, including and especially Jewish students, were immediately bombarded by social media

posts across MIT-affiliated platforms, applauding the so-called “resistance” against Israel (a gross

attempt to cast the murder, rape and kidnapping of Israelis in the language of social justice, rather

than the terrorism that it was). Similarly, on MIT’s campus, students, including and especially

Jewish students, were soon subjected to in-person demonstrations with participants who engaged

in speech and conduct that targeted Jewish students and the very right of existence of the State of

Israel, and in so doing violated both MIT’s anti-discrimination and anti-harassment policies,

including as reflected in MIT’s codes of conduct, and went beyond the protections of free speech.

       5.      Despite the official and unwavering recognition by President Biden of the terroristic

and intolerable acts of violence committed by Hamas on October 7, MIT refused to enforce its

anti-discrimination policies when an antizionist and antisemitic response emanated from MIT-

recognized student groups, choosing instead to cloak those groups’ response in the guise of “free



1
 https://www.whitehouse.gov/briefing-room/speeches-remarks/2023/10/10/remarks-by-
president-biden-on-the-terrorist-attacks-in-israel-2/


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speech.” MIT tolerated discriminatory, harassing speech that it had expressly not tolerated in other

comparable situations.

        6.      MIT’s glaringly inadequate response took place even though the school’s policies

make it clear that MIT will not tolerate impermissible speech and conduct (i.e. speech and conduct

that violates MIT’s anti-discrimination and anti-harassment policies, including as reflected in

MIT’s codes of conduct) and that MIT will act to prevent such speech and conduct.

        7.      In enabling this discriminatory conduct, MIT has directly and intentionally

contributed to a pervasively hostile campus environment in violation of Title VI of the Civil Rights

Act of 1964 and breached its duties to Plaintiffs, to its other Jewish students, to its Israeli students,

and, indeed, to the entire MIT campus community.

        8.      Any alleged “action” taken by MIT in response to discriminatory and harassing

speech and conduct was not designed to have any meaningful impact in stopping the spreading

wildfire of antisemitism, including antisemitic conduct.

        9.      As a result of MIT’s blatant and intentional disregard for its legal obligations to its

students, Plaintiffs and other students have suffered injury, including in their educational

experience. Jewish and Israeli students at MIT have felt unsafe attending classes, have deferred

graduation dates or exams, and even some Jewish and Israeli professors have left the university. 2

Jewish and Israeli students have also avoided going to certain locations on campus during protests

because of the hostile environment created by those protests.

        10.     Refusing to watch idly as their safety and educational experience were threatened,

Plaintiffs took significant actions to seek—and even beg—for administrative support from MIT.




2
 The loss of Jewish professors, itself, contributes to and perpetuates the hostile educational
environment to which Plaintiffs and SCLJ members are subjected.


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Worse than simply ignoring Plaintiffs and other complaining students, MIT instead made empty

promises followed by inaction.

       11.     MIT must now, finally, be compelled through an order of this Court to implement

comprehensive, meaningful remedial measures including but not limited to: (i) terminating

administrators, professors, or other university employees or staff responsible for the antisemitic

abuse permeating the school, whether because they engaged in it or permitted it; (ii) suspending

or expelling students and/or student groups who engage in such conduct; (iii) communicating to

the entire MIT community by broadcast email or a similar medium, that MIT will condemn,

investigate, and punish any conduct that discriminates against or harasses members of the Jewish

community, or others on the basis of their ethnic or ancestral background; (iv) providing education

about antisemitism, including by conducting mandatory training for administrators and professors;

(v) instituting strict review and approval policies to ensure that the administration does not

conduct, or finance, programs that will result in the harassment of or discrimination against Jewish

students of the MIT community, including those for whom Zionism is an integral part of their

identity; and (vi) paying damages to Plaintiffs who have not only lost the value of their educational

experience , but who continue to suffer harm through lost opportunities, all as a result of MIT’s

intentional refusal to act to ensure the safety of its Jewish students. MIT’s selective enforcement

of its anti-discrimination and anti-harassment policies in the face of antisemitic and antizionist

speech and conduct, as well as other instances of MIT allowing misconduct aimed at Jewish and

Israeli members of the MIT community, evinces further discriminatory intent towards such Jews

and Israelis, as well as discriminatory impact upon them. Plaintiffs seek damages, injunctive relief,

and additional remedies as set forth herein. An institution of higher learning such as MIT need not

take a public or political stance on the war between Israel and Gaza to comply with its clearly




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delineated (and federally required) policies requiring that MIT refuse to tolerate rampant

antisemitism on its campus and through its media platforms. MIT’s blatant civil rights violations,

however, have resulted in a hostile educational environment where Plaintiffs and other students

who are or are perceived to be Jewish or Israeli, have suffered horrendous acts of hate,

discrimination and harassment—all with the sanction of MIT’s administration.

       12.     MIT violated Title VI of the Civil Rights Act of 1964 and sanctioned such acts by

refusing to enforce its own anti-discrimination and conduct policies—which it has historically not

hesitated to enforce to protect other targets of discrimination. MIT’s actions (and inactions) with

regard to hateful antisemitic discrimination and harassment targeting its Jewish and Israeli

students, demonstrate, at best, a deliberate indifference to protect MIT students from hateful

antisemitic discrimination and harassment.

       13.     This action seeks redress for MIT’s failure to meet its legal obligations, in particular

by intentionally and effectively discriminating against Jewish and Israeli students (and

employees).

       15.     Because of such selective enforcement and other instances of MIT allowing such

discriminatory and harassing conduct, Plaintiffs are also entitled to injunctive relief and

attorneys’ fees.


                                             PARTIES

       14.     Plaintiff StandWithUs Center for Legal Justice (“SCLJ”) is a tax-exempt

membership organization organized under the laws of California that partners with StandWithUs,

a nonprofit education organization dedicated to combating antisemitism. Composed of students,

professors, and community members; SCLJ enhances StandWithUs’s mission through impact




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litigation and other legal actions. SCLJ’s members include current Jewish and/or Israeli MIT

undergraduate and graduate students and alumni.

          15.   Plaintiff Marilyn Meyer is a Jewish undergraduate student currently enrolled a

MIT. Plaintiff Meyer currently resides in the City of Boston in the State of Massachusetts. She is

also a member of SCLJ.

          16.   Plaintiff Katerina Boukin is a Jewish Israeli graduate student currently enrolled at

MIT. Plaintiff Boukin currently resides in the City of Somerville in the State of Massachusetts.

She is also a member of SCLJ.

          17.   SCLJ Member # 1 is a Jewish undergraduate student currently enrolled at MIT.

SCLJ 1 resides in the City of Boston in the State of Massachusetts.

          18.   Defendant Massachusetts Institute of Technology (MIT) is a private not-for-profit

university with its principal place of business located at 77 Massachusetts Avenue, Cambridge,

Massachusetts 02139. At all times relevant, MIT has and continues to receive federal funding.


                                  JURISDICTION AND VENUE

          19.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and § 1343 over

the claims arising under Title VI of the Civil Rights Act of 1964 (Title VI”) (42 U.S.C. § 2000d,

et seq.

          20.   This Court has personal jurisdiction over Defendant because it is located and

operates in Massachusetts.

          21.   Venue is proper pursuant to 28 U.S.C § 1391, because Defendant is registered to

conduct business in the District of Massachusetts, has its principal place of business in this District,

and a substantial portion of the acts at issue transpired in this District.




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                                    STATEMENT OF FACTS

   I. Antisemitism and Antizionism are Discriminatory and Violate Title VI of the Civil
Rights Act of 1964, 42 U.S.C. § 2000d, et seq.

       22.     Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., prohibits

discrimination on the basis of race, color, or national origin in any program or activity that receives

federal funding or other federal financial assistance. Title VI protects all students, including Jewish

students, from such discrimination in federally funded programs or activities.

       23.     In December 2019, President Trump issued Executive Order 13899 on Combating

Anti-Semitism (the “Executive Order”), directing the executive branch to enforce Title VI against

discrimination “rooted in anti-Semitism as vigorously as against all other forms of discrimination

prohibited by Title VI,” and in doing so required agencies tasked with Title VI enforcement to

utilize the International Holocaust Remembrance Alliance (“IHRA”) Working Definition of

Antisemitism (“IHRA Definition”), which includes the following:

               Antisemitism is a certain perception of Jews, which may be expressed as hatred
               toward Jews. Rhetorical and physical manifestations of antisemitism are directed
               toward Jewish or non-Jewish individuals and/or their property, toward Jewish
               community institutions and religious facilities. 3
       24.      The Office for Civil Rights (“OCR”) of the U.S. Department of Education

(“DOE”) expressed its commitment to applying the IHRA Definition on January 19, 2021, in a set

of questions and answers 4 that OCR issued regarding the executive order. And on January 4, 2023,

DOE Assistant Secretary for Civil Rights, Catherine Lhamon, publicly reaffirmed OCR’s

“commitment to complying with Executive Order 13899” in an email announcing the release of

OCR’s new fact sheet on “Title VI Protection from Discrimination Based on Shared Ancestry or




3
  https://www.holocaustremembrance.com/sites/default/files/press_release_document_antisemitis
m.pdf.
4
   https://www2.ed.gov/about/offices/list/ocr/docs/qa-titleix-anti-semitism-20210119.pdf


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Ethnic Characteristics.”5 The continued relevance of the fact sheet and question and answer

documents was further reiterated in OCR’s “Dear Colleague” letters dated May 25, 2023 6 and

November 7, 20237 (which referred to both of those documents in their lists of resources).

       25.     The U.S. Department of State, which also adopted the IHRA Definition, provides

additional guidance on what constitutes antisemitism, including the following:

               Contemporary examples of antisemitism in public life, the media, schools, the
               workplace, and in the religious sphere could, taking into account the overall context,
               include, but are not limited to:

                  •   Calling for, aiding, or justifying the killing or harming of Jews in the name of
                      a radical ideology or an extremist view of religion.

                  •   Making mendacious, dehumanizing, demonizing, or stereotypical allegations
                      about Jews as such or the power of Jews as collective — such as, especially
                      but not exclusively, the myth about a world Jewish conspiracy or of Jews
                      controlling the media, economy, government or other societal institutions.

                  •   Accusing Jews as a people of being responsible for real or imagined
                      wrongdoing committed by a single Jewish person or group, or even for acts
                      committed by non-Jews.

                  •   Denying the fact, scope, mechanisms (e.g. gas chambers) or intentionality of
                      the genocide of the Jewish people at the hands of National Socialist Germany
                      and its supporters and accomplices during World War II (the Holocaust

                  •   Accusing the Jews as a people, or Israel as a state, of inventing or exaggerating
                      the Holocaust.

                  •   Accusing Jewish citizens of being more loyal to Israel, or to the alleged
                      priorities of Jews worldwide, than to the interests of their own nations.

                  •   Denying the Jewish people their right to self-determination, e.g., by
                      claiming that the existence of a State of Israel is a racist endeavor.

                  •   Applying double standards by requiring of it a behavior not expected or
                      demanded of any other democratic nation.


5
  https://www2.ed.gov/about/offices/list/ocr/docs/ocr-factsheet-shared-ancestry-202301.pdf
6
  https://www2.ed.gov/about/offices/list/ocr/docs/antisemitism-dcl.pdf
7
  https://www2.ed.gov/about/offices/list/ocr/letters/colleague-202311-discrimination-harassment-
shared-ancestry.pdf


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                     •   Using the symbols and images associated with classic antisemitism (e.g.,
                         claims of Jews killing Jesus or blood libel) to characterize Israel or
                         Israelis.

                     •   Drawing comparisons of contemporary Israeli policy to that of the Nazis.

                     •   Holding Jews collectively responsible for actions of the state of Israel.

                 Antisemitic acts are criminal when they are so defined by law (for example, denial
                 of the Holocaust or distribution of antisemitic materials in some countries).

                 Criminal acts are antisemitic when the targets of attacks, whether they are people or
                 property – such as buildings, schools, places of worship and cemeteries – are selected
                 because they are, or are perceived to be, Jewish or linked to Jews.

                 Antisemitic discrimination is the denial to Jews of opportunities or services available
                 to others and is illegal in many countries.8

         26.     Since at least September 2004, it has been the policy of OCR, the agency

responsible for enforcing Title VI at educational institutions, to investigate claims related to

antisemitism. And in an October 26, 2010 letter to federally funded schools, OCR confirmed that

such schools must address antisemitic harassment under Title VI. According to OCR’s letter, such

harassment violates Title VI when it creates a “hostile environment” in which “the conduct is

sufficiently severe, pervasive, or persistent so as to interfere with or limit a student’s ability to

participate in or benefit from the services, activities, or opportunities offered by a school” or when

the harassment is “encouraged, tolerated, not adequately addressed, or ignored by school

employees.”9

         27.     OCR has required schools to take “immediate and appropriate action to investigate

or otherwise determine what occurred” when responding to harassment claims, and, when such

investigations reveal that discriminatory harassment occurred, schools “must take prompt and



8
    https://www.state.gov/defining-antisemitism/ (emphasis added).
9
    https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201010.html


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effective steps reasonably calculated to end the harassment, eliminate any hostile environment and

its effects, and prevent the harassment from recurring.”10

       28.     Both the Trump and Biden administrations have since confirmed the urgent

necessity under Title VI to combat antisemitism.

       29.     On January 4, 2023, DOE, citing the “rise in anti-Semitic incidents,” released a fact

sheet entitled “Protecting Students from Discrimination Based on Shared Ancestry or Ethnic

Characteristics,” which notes that Title VI’s protections extend to “students who experience

discrimination, including harassment, based on their shared ancestry or ethnic characteristics or

citizenship or residency in a country with a dominant religion or distinct religious identity.” 11

       30.     On May 25, 2023, President Biden released The U.S. National Strategy to Counter

Antisemitism, which his administration described as the “most ambitious and comprehensive U.S.

government-led effort to fight antisemitism in American history,” 12 and DOE launched its

Antisemitism Awareness Campaign. 13 As part of that campaign, OCR released a letter reminding

schools of their legal obligations under Title VI to provide all students, including Jewish students,

a school environment free from discrimination and to take immediate and appropriate action to

respond to harassment that creates a hostile environment. On September 28, 2023, as part of

President Biden’s National Strategy to Counter Antisemitism, eight federal agencies confirmed




10
   https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201010_pg2.html
11
   https://www2.ed.gov/about/offices/list/ocr/docs/ocr-factsheet-shared-ancestry-202301.pdf
12
    https://www.whitehouse.gov/wp-content/uploads/2023/05/U.S.-National-Strategy-to-Counter-
Antisemitism.pdf
13
         https://www.ed.gov/news/press-releases/us-department-education-launches-antisemitism-
awareness-campaign


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again that Title VI prohibits antisemitic forms of discrimination in federally funded programs and

activities.14

        31.      On November 7, 2023, OCR released a letter “remind[ing] colleges, universities,

and schools that receive federal financial assistance of their legal responsibility under Title VI . . .

to provide all students a school environment free from discrimination based on race, color, or

national origin, including shared ancestry or ethnic characteristics.” 15 The letter states: “It is your

legal obligation under Title VI to address prohibited discrimination against students and others on

your campus—including those who are perceived to be Jewish [or Israeli] . . . in the ways described

in this letter.”16


   II. MIT, as a Private Institution, Has the Authority to Control Hateful Speech and
Discrimination against Jews on Its Campus.

        32.      MIT is a private university, and as shown in the MIT policies outlined below, has

broad power and authority to address antisemitism that impacts its students, faculty, and staff.


              a. MIT’s Code of Conduct

        33.      MIT makes available to each student, parent and prospective student a copy of the

student handbook. This handbook, called the MIT Mind and Hand Book, is available online and

outlines the university’s expectations for students.17

        34.      The handbook contains several provisions that govern student behavior.




14
      https://www.whitehouse.gov/briefing-room/statements-releases/2023/09/28/fact-sheet-biden-
harris-administration-takes-landmark-step-to-counter-antisemitism/
15
    https://www2.ed.gov/about/offices/list/ocr/sharedancestry.html
16
    Id.
17
   https://handbook.mit.edu/sites/default/files/images/2023-
2024%20Mind%20And%20Hand%20Book%20PDF%20Copy.pdf


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       35.     Section II(4) governs Assault and Reckless Endangerment and states, “MIT

prohibits physical abuse of oneself or others and reckless endangerment of oneself or others.

Physical abuse is violence of any nature against any person; fighting; assault; battery; the use of a

knife, gun, or other weapons; restraining or transporting someone against their will; or any action

that threatens or endangers the physical health or safety of any person or causes reasonable

apprehension of such harm. Reckless endangerment is conduct that could reasonably and

foreseeably result in physical injury even if no injury actually occurs.”

       36.     Section II(5) governs Community Well-Being and states, in relevant part, “MIT

expects that members of the MIT community will not engage in behavior that…has serious

ramifications for their own physical and mental health, safety, welfare, academic well-being,

professional obligations, or for that of others. In situations where an individual student’s physical

illness or emotional difficulties affect not only the student, but also others in the community, it is

the Institute’s responsibility to consider the well-being of the community as well as the individuals

in care decisions.”

       37.     Section II(7) of the handbook governs discrimination and discriminatory

harassment. The preamble states, in relevant part, “In order to create a respectful, welcoming, and

productive community, the Institute is committed to providing a living, working, and learning

environment that is free from discrimination and discriminatory harassment.”

       38.     The preamble further defines the scope and reach of the discrimination policy:

“These policies apply to conduct that occurs on MIT property or off-campus, or when an MIT

student is representing or acting on behalf of the Institute, conducting Institute business, or

attending Institute-funded or Institute-sponsored activities such as a conference. In addition, these




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policies may apply to conduct that occurs outside the MIT academic environment if that conduct

affects the work or educational environment.”

       39.     MIT’s discrimination policy further states, “The standards for finding a violation

of law are different from the standards used by MIT in determining whether there has been a

violation of MIT’s policy.”

       40.     According to the discrimination policy, “The outcome of disciplinary action can

include a warning, probation, suspension, expulsion, or degree revocation.”

       41.     Section II(5)(b) contains MIT’s nondiscrimination policy and specifically indicates

that MIT “is committed to the principle of equal opportunity in education and employment. The

Institute prohibits discrimination against individuals on the basis of race, color, sex, sexual

orientation, gender identity, pregnancy, religion, disability, age, genetic information, veteran

status, or national or ethnic origin in the administration of its educational policies, admissions

policies, employment policies, scholarship and loan programs, and other Institute administered

programs and activities[.]”

       42.     Section II(7)(D)(1) covers harassment based on protected class. In this section,

MIT states, “the Institute is particularly committed to eliminating harassment based on those

categories. Harassment that is based on an individual’s race, color, sex, sexual orientation, gender

identity, pregnancy, religion, disability, age, genetic information, veteran status, or national or

ethnic origin is not only a violation of MIT policy but may also violate federal and state law,

including Title IX of the Education Amendments of 1972 and Mass. General Laws Chapter 151B.”

       43.     Section II(13) governs harassment. The policy outlines what does and does not

constitute harassment according to MIT:

               Harassment is defined as unwelcome conduct of a verbal, nonverbal or physical
               nature that is sufficiently severe or pervasive to create a work or academic



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               environment that a reasonable person would consider intimidating, hostile or
               abusive and that adversely affects an individual’s educational, work, or living
               environment.

               In determining whether unwelcome conduct is harassing, the Institute will examine
               the totality of the circumstances surrounding the conduct, including its frequency,
               nature and severity, the relationship between the parties and the context in which
               the conduct occurred. Below is a partial list of examples of conduct that would
               likely be considered harassing, followed by a partial list of examples that would
               likely not constitute harassment:

                  •   Examples of possibly harassing conduct: Public and personal tirades;
                      deliberate and repeated humiliation; deliberate interference with the life or
                      work of another person; the use of certain racial epithets; deliberate
                      desecration of religious articles or places; repeated insults about loss of
                      personal and professional competence based on age.

                  •   Examples of conduct that is likely not harassment: Administrative actions
                      like performance reviews (including negative performance reviews) and
                      making work assignments; other work-related decisions like moving work
                      areas or changing work colleagues; and isolated incidents (unless, as noted
                      above, they are very severe, such as the use of certain racial epithets).

       44.     MIT maintains broad authority to regulate harassing conduct, even when it does not

necessarily violate the harassment policy:


               Conduct that does not rise to the level of harassment may still violate Section 9.2.
               Even conduct that does not violate an MIT policy may be inappropriate and any
               inappropriate conduct should be addressed by the supervisor or department head.

   45. While MIT’s harassment policy is not limited to harassment based on the protected

       categories listed in Section 9.3, the Institute is particularly committed to eliminating

       harassment based on those categories. Harassment that is based on an individual’s race,

       color, sex, sexual orientation, gender identity, pregnancy, religion, disability, age, genetic

       information, veteran status, or national or ethnic origin is not only a violation of MIT policy

       but may also violate federal and state law, including Title IX of the Education Amendments

       of 1972, Title VII of the Civil Rights Act of 1964, and Mass. General Laws Chapter 151B.




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       46.      Section II(18) governs expectations of student behavior and integrity and states:

                       MIT expects that all students come to the Institute for a serious academic
                       purpose and expects them to be responsible individuals who conduct
                       themselves with high standards of honesty, fairness, respect, integrity, and
                       accountability in both their academic and non-academic lives. Students are
                       expected to uphold a high standard of civility and to demonstrate their
                       respect for all members of this diverse community. These expectations are
                       fundamental to the principle of independent learning and professional
                       growth and to the maintenance of a healthy living and learning environment.
       47.      Section II(21) covers off-campus misconduct and states that MIT reserves the right

to take disciplinary action “if the Institute considers that such alleged misconduct may have

violated Institute policy and expectations of civility, integrity, and respect. The Institute will

determine, on a case-by-case basis, if it is appropriate to address a complaint of this kind.”

       48.      Section II(22) prohibits “[m]alicious or unauthorized conduct that attempts to,

actually does, or is reasonably likely to damage, deface, or destroy Institute property or property

belonging to another.”

       49.      Section II(24) “prohibits threats, intimidation, coercion, and other conduct that can

be reasonably, objectively construed to threaten or endanger the mental or physical health or safety

of any person.”

       50.      Section II(10) governs freedom of expression. The policy states, in relevant part:

                         Freedom of expression is essential to the mission of a university. So is
                         freedom from unreasonable and disruptive offense. Members of this
                         educational community are encouraged to avoid putting these essential
                         elements of our university to a balancing test.
                         …
                         With respect to materials posted on bulletin boards, it is not appropriate to
                         remove or deface signed posters, even if some people find such material
                         offensive. If you are offended by a poster signed by a person or group in the
                         MIT community, it is appropriate to convey your sense of offense to those
                         who created the poster. It is not appropriate to remove or deface the poster.

             b. MIT’s Chalking Policy and Removal of Posters:

       51.      MIT has a policy that governs chalking, which states:



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                      Chalking is permitted by Institute groups on sidewalks and pathways on
                      campus to promote their events or activities … Chalking is not allowed on
                      buildings, steps, or interior locations. Chalkings must clearly identify the
                      group that is responsible for them.

                      …

                      In general, large banners or flags may not be displayed at MIT by
                      individuals or groups without MIT’s permission. Individual residence halls
                      may temporarily display banners in accordance with Housing & Residential
                      Services (“HRS”) policy.

                      Other temporary displays, such as sandwich boards and similarly sized
                      displays, are permitted for limited time periods solely to promote Institute
                      events or activities and/or provide directions to campus locations. These
                      displays cannot block corridors or access to buildings, streets, paths, or
                      sidewalks, and must comply with all of the above requirements, including
                      clearly identifying the group that is responsible for them. Institute groups
                      may also seek permission from the Division of Student Life or Institute
                      Events for the temporary use of larger displays in locations such as the
                      Stratton Student Center, Lobby 7, or Lobby 10.18
       52.     Similarly, MIT has a policy concerning the removal of posters:

                      Posters on Institute Display Spaces are usually removed several times a
                      week by the Department of Facilities. Groups that control their own display
                      spaces should establish a process for the regular removal of posters that are
                      no longer relevant to their community or that do not comply with any rules
                      the group has established for their spaces.

                      Individuals or groups may not remove posters on Institute Display Spaces
                      on their own, nor may they alter or deface them. Institute groups may cover
                      posters for events or activities that have already passed, if multiple identical
                      posters are preventing other posters from being put up, or if posters are hung
                      by non-MIT individuals or groups. In addition, an MIT group can remove
                      their own posters. 19




18
     https://policies.mit.edu/policies-procedures/120-relations-public-use-mit-name-and-facilities-
use/125-use-
facilities/1255#:~:text=Chalking%20is%20permitted%20by%20Institute,that%20is%20responsi
ble%20for%20them.
19
     https://policies.mit.edu/policies-procedures/120-relations-public-use-mit-name-and-facilities-
use/125-use-
facilities/1255#:~:text=Chalking%20is%20permitted%20by%20Institute,that%20is%20responsi
ble%20for%20them.


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              c. MIT’s Policy on Events, Vigils, Protests, and Demonstrations

        53.      MIT has a policy that governs events, vigils, protests, and demonstrations (“Events

Policy”) that is publicly available. 20

        54.      The Events Policy applies to MIT students, faculty, and staff, as well as visitors.

        55.      According to the Events Policy, “MIT recognizes that freedom of expression is

essential to the Institute’s mission as long as it does not unreasonably interfere with or disrupt

Institute events, programs, activities, academics, research, or operations (collectively, “Institute

Activities”).”

        56.      The Events Policy further allows for freedom of expression that does not violate

MIT policies.

        57.      The Events Policy dictates that exercising free expression on campus comes with

the following general conditions:

              a. “Such expression must not be used for purposes of harassment, discrimination,

                 retaliation, invasion of personal privacy, defamation, threats or violence, targeting

                 of groups or individuals[.]”

              b. “Individuals and groups must comply with the law and all MIT policies, including

                 policies for MIT student groups, Institute Events procedures, MIT’s use of facilities

                 policy, and MIT’s postering policy.”

              c. “Institute Activities may not be unreasonably interfered with or disrupted, and

                 access to an Institute event or facility, including any means of egress, may not be

                 blocked or obstructed.”




20
          https://studentlife.mit.edu/system/files/2023-11/202031103-mit-guidelines-on-speakers-
protests-and-demonstrations-final_1.pdf


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      d. “Invited speakers are also generally free to express their views, even if

         controversial. Dissenting members of the community may protest and express

         disagreement, but they may not unreasonably interfere with or disrupt a speaker’s

         ability to speak or attendees’ ability to attend or hear the speaker.”

      e. “Institute groups who wish to organize vigils, protests, or demonstrations

         (including counterprotests) are required to meet with Institute officials in advance

         and must honor reasonable time, place, and manner restrictions dictated by the

         Institute, including restrictions on sound amplification.”

      f. Safety and security of the MIT community at such events is paramount. In the event

         that conduct interferes with or disrupts an Institute Activity, a representative of the

         Institute may request the conduct to stop or ask the person or group to leave the

         area or relocate to a more suitable area. If the conduct continues despite a request

         to stop, MIT reserves the right to take appropriate action, including but not limited

         to postponing the event, taking disciplinary action, or, where the safety of the

         community is threatened, taking steps to remove the person or group from campus.”

58.      MIT’s Events Policy also provides guidance on the use and organization of events:

                 MIT has preferred locations for vigils, protests, and demonstrations
                 (including counterprotests) (collectively referred to as “demonstrations”).
                 These locations include the Stratton Student Center, the steps of the
                 Dertouzous (Stata) Amphitheater, Kresge Oval, McDermott Court, and
                 Hockfield Court. Demonstrations on the MIT campus may only be
                 organized by Institute groups such as academic departments, administrative
                 offices, and recognized student, faculty, staff, and employee organizations.
                 Those groups must reserve space at least three business days in advance of
                 their demonstrations through Institute Events or Campus Activities
                 Complex. Demonstrations are not permitted to be conducted in faculty or
                 administrative offices, classrooms, libraries, study rooms, or similar
                 locations that would disrupt Institute Activities. Demonstrations must not
                 unreasonably interfere with or disrupt an Institute Activity. Groups
                 organizing demonstrations are required to meet with Institute officials at



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                        least three business days in advance of the demonstration, must follow
                        instructions from Institute officials before and during the demonstration,
                        and must honor reasonable time, place, and manner restrictions, including
                        restrictions on sound amplification. Failure to comply with these guidelines
                        may result in MIT requiring individuals or groups to relocate or alter or
                        cease their conduct, and may also lead to disciplinary action.

     III. The Evolution of Antisemitism

        59.      Antisemitism is not new. Antisemitism has evolved and has been repackaged over

thousands of years. As recognized in the IHRA Working Definition, discussed above, Jews have

been victimized for a variety of alleged evils, including killing Jesus Christ, refusing to accept

Jesus Christ as the Messiah, being usurers, traitors, an inferior race, and most recently, because

their Jewish identity is tied to the modern state of Israel (i.e., for being Zionists).


              a. Antisemitism as Religious Discrimination

        60.      Modern antisemitism includes Jews being blamed for the crucifixion of Jesus and

then for failing to accept Jesus as the Messiah. 21 Indeed, it was not until the 1960s that the Catholic

Church officially repudiated the charge that the Jews had murdered Jesus Christ. 22

        61.      From approximately 300-600 C.E.,23 Jews were forbidden to marry Christians (399

C.E.), were prohibited from holding positions in government (439 C.E.), and were prevented from

appearing as witnesses against Christians in court (531 C.E.).24




21
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
22
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
23
    “C.E.” or the “Common Era” is the equivalent of “A.D.,” which is Latin for “in the year of the
Lord,” referring to Jesus.
24
    https://www.adl.org/sites/default/files/documents/assets/pdf/education-outreach/Brief-History-
on-Anti-Semitism-A.pdf


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        62.    As Jews were officially being ostracized, certain bizarre fantasies about Jews arose

in Northern Europe that foreshadowed the antisemitism of the 20th century. It was around this

time that false rumors that Jews had horns and tails and engaged in ritual murder of Christians

began to circulate. The latter allegation, referred to as “blood libel,” was devised by Thomas of

Monmouth in 1150 to explain the mysterious death of a Christian boy. This theme recurs in English

and German myths.25

        63.    In 1095, Pope Urban II called for the liberation of Jerusalem. Christian crusaders

set off to free the Holy Land from the Muslims. The Crusader army swept through Jewish

communities looting, raping and massacring Jews as they went. This represented the dawn of the

pogrom—the organized massacre of a targeted group of people. 26

        64.    “Throughout the Middle Ages, Christians persecuted Jews. Portrayed as alien, Jews

were regarded as usurers. Illustrations depicted Jews as the devil, with horns and cloven feet, and

showed them using the blood of Christian children in ritual sacrifices. These lies came to be taken

as truth.”27

        65.    For centuries, based in large part on the belief that Jews were evil and unwilling to

accept the word of God, Jews were prohibited from owning land and holding public office. Whole

professions refused to admit Jews.28




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    https://www.adl.org/sites/default/files/documents/assets/pdf/education-outreach/Brief-History-
on-Anti-Semitism-A.pdf
26
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism;              https://www.adl.org/sites/default/files/documents/assets/pdf/education-
outreach/Brief-History-on-Anti-Semitism-A.pdf
27
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
28
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism


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       66.     Since Jews were not allowed to own land and the Church did not allow Christians

to loan money for profit, Jews had few alternatives but to become moneylenders. Once they

became associated with the forbidden trade of usury—the practice of lending money and charging

high interest—a new set of stereotypes evolved around the Jews as money-hungry and greedy. As

moneylenders, Jews were frequently useful to rulers who used their capital to build cathedrals and

outfit armies. So long as the Jews benefited the ruler, either through finance or by serving as

convenient scapegoats, they were tolerated. However, this did not stop rulers of various countries

from expelling their Jews: Jews were expelled from England in 1290, France in 1394, and Spain

in 1492.29

       67.     During the middle of the 14th century, the Bubonic Plague spread throughout

Europe, killing an estimated one-third of the population. In the midst of fear, superstition, and

ignorance, people looked for someone to blame, and the Jews were a convenient scapegoat because

of the myths and stereotypes that were already believed about them. Though Jews were also dying

from the plague, they were accused of poisoning wells and spreading the disease. In Germany and

Austria, it is estimated that 100,000 Jews were burned alive for this and other false accusations,

including using the blood of Christian boys to make Passover matzoh and for desecrating

sacramental wafers. Stereotypes in Christian church art were used to inflame the masses. 30

       68.     “In several countries, secular and religious states forced Jews into segregated

districts later called ghettos. England, France, Spain, Portugal, and many German states expelled




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   https://www.adl.org/sites/default/files/documents/assets/pdf/education-outreach/Brief-History-
on-Anti-Semitism-A.pdf
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   https://www.adl.org/sites/default/files/documents/assets/pdf/education-outreach/Brief-History-
on-Anti-Semitism-A.pdf


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masses of Jews—most of whom migrated eastward taking with them their religious convictions

and traditions.”31


              b. Antisemitism Morphs into a Political, Economic, and Social Movement

        69.      “In 1517, Martin Luther attacked the Pope and corruption within his own Roman

Catholic Church, beginning the Protestant Reformation. The young Luther hoped that tolerance

would persuade Jews to convert. But when Jews adhered to their own religious beliefs and refused

to join his new reformed church, Luther’s disappointment turned to hatred”:


                 What then shall we Christians do with this rejected and condemned people, the
                 Jews? . . .Their synagogues . . .should be set on fire, and what does not burn must
                 be covered over with earth so that no man will ever see stone or cinder of them
                 again. . . .Their houses also should be razed and destroyed. . . . All their prayer
                 books. . .should be taken from them.32

        70.      Martin Luther also wrote a pamphlet in 1545, entitled “The Jews and Their Lies,”

claiming that Jews thirsted for Christian blood. Luther urged his followers to kill Jews. Martin

Luther’s pamphlet was later reprinted by the Nazis in 1935. Some scholars feel that these scurrilous

attacks mark the transition from anti-Judaism (attacks motivated because of the Jews’ refusal to

accept Christianity) to anti-Semitism (hatred of Jews as a so-called race that would contaminate

the purity of another race). 33

        71.      In France in 1894, Captain Alfred Dreyfus, the only Jewish member of the French

Army’s general staff, was falsely accused and convicted of passing military secrets to Germany.




31
             https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
32
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
33
    https://www.adl.org/sites/default/files/documents/assets/pdf/education-outreach/Brief-History-
on-Anti-Semitism-A.pdf


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When evidence was discovered that Dreyfus was innocent, it was quickly covered up by French

Officers of the General Staff who wanted to blame the crime on a Jew. This event, now known as

“the Dreyfus Affair,” is emblematic of the antisemitism that pervaded France at the time.34

        72.     Once again, these events show antisemitism as not purely religious discrimination,

but also as being a secular, social, and political movement. 35

        73.     Around 1900, Jews were falsely accused of conspiring to dominate the world using

their money and intelligence to manipulate trusting Christians. Russian secret police forged a

document to support the story of a take-over plot supposedly authored by a conference of Jewish

leaders. A proven forgery, The Protocols of the Elders of Zion was nevertheless translated into

every major language and distributed worldwide. It is circulated even today despite indisputable

proof that it is a fake.36

        74.     To divert popular discontent at appalling living conditions and autocratic control,

Russian authorities encouraged antisemitic violence against Russian Jews who were mostly

extremely poor; Jews were blamed for the assassination of Czar Alexander II in 1881, as well as

any number of smaller problems that occurred in the country. Pogroms, murderous rampages

against Jews, erupted in Russia many times during the next three decades.” 37




34
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
35
       See https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
36
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
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   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism


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        75.     Between 1917 and 1921, more than 500 Jewish communities in Ukraine were wiped

out during pogroms, and approximately 60,000 Jewish men, women, and children were

murdered.38

        76.     “The second half of the 19th century saw the emergence of yet another kind of

antisemitism. At its core was the theory that Jews were not merely a religious group but a separate

“race”—Semites—set apart because of genetically inherited characteristics.” 39

        77.     By making antisemitism an issue of race, rather than religion, Jews could not escape

antisemitism by assimilating into society as some had previously done. Antisemites believed Jews

were dangerous and threatening because of their “Jewish blood.” Antisemitic racism united

pseudoscientific theories with centuries-old anti-Jewish stereotypes. These ideas gained wide

acceptance.40

        78.     “The devastation of World War I, the demeaning peace of Versailles, the

hyperinflation of the 1920s, and the depression of 1929 fueled mass discontent. The presence of

Jews in German cultural, economic, and political life made them convenient scapegoats for

Germany’s misfortunes.”41

        79.     Adolf Hitler viewed world history as a racial struggle for survival of the fittest. He

saw Jews as the source of all evil: disease, social injustice, cultural decline, both capitalism and all




38
   https://www.adl.org/sites/default/files/documents/assets/pdf/education-outreach/Brief-History-
on-Anti-Semitism-A.pdf
39
            https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
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      See https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
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            https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism


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forms of Marxism, especially Communism. Antisemitism became the predominant ideology of the

Third Reich.42

       80.       While the Nazi regime victimized many minorities, the main group targeted by its

discrimination and then extermination programs was the Jews. After the Nazis assumed power in

Germany, anti-Jewish measures were put into effect one after another: Jewish businesses were

boycotted, then seized. Jews were defined and then separated from non-Jews. Jews were excluded

from professions and studies. Jewish children were barred from schools. Jews were subjected to

public humiliation.43

       81.       Despite the drastic increase in antisemitism at a societal and government level, most

people, including Jews, could not have anticipated what was to come.

       82.       During World War II, based on the premise that Jews constituted an inferior “race,”

the Nazis systematically murdered six million Jews.

       83.       After the Holocaust, millions of people around the world proclaimed, “Never

Again!” If only that were so.

       84.       Antisemitism did not end with the Holocaust and persists around the world today.

Efforts to minimize, deny, or even celebrate the Holocaust are among the many ways antisemitism

endures.44




42
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
43
   https://www.ushmm.org/antisemitism/what-is-antisemitism/why-the-jews-history-of-
antisemitism
44
    https://www.ushmm.org/antisemitism-today


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        85.      Hatred of Jews is fueled by myths, lies, and conspiracy theories. Some advocates

of religious, political, and racial ideologies continue to exploit the hatred of Jews to achieve their

own ends.45


     IV. Anti-Zionism is Antisemitism

              a. What is Zionism?

        86.      Zionism, simply put, is the belief that Jews have the right to self-determination in

their ancestral homeland of Israel. 46

        87.      The Anti-Defamation League (“ADL”) summarized the manner in which Zionism

dates back thousands of years for Jews:

                 While there has been a continuous Jewish presence in the land of Israel over the
                 millennia, the yearning to return to Zion, the biblical term for both the land of Israel
                 and Jerusalem, has been a cornerstone of Jewish communal life since the Romans
                 violently colonized the land, sending Jews into exile two thousand years ago. An
                 earlier exile by the Babylonians produced perhaps the most well-known
                 lamentation “By the rivers of Babylon, there we wept as we remembered Zion.”
                 That connection between Jews and the land, and the hope for repatriation, is deeply
                 embedded in Jewish prayer, ritual, literature and culture.47

              b. Zionism and Jewish Identity

        88.      Jewish identity is defined by more than common religious practice. Jews share an

ancestral and ethnic heritage that is rooted in the Land of Israel. Most Jews around the world today

take pride in this ancestral and ethnic heritage. For them, as for many Jewish students at MIT,

Zionism and the historic connection of Jews to the Land of Israel form an integral part of their

Jewish identity.




45
   https://www.ushmm.org/antisemitism-today
46
   https://www.worldjewishcongress.org/en/anti-zionism
47
   https://www.adl.org/resources/backgrounder/zionism


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        89.     Israel is the birthplace of Jewish ethnic identity, language, culture, traditions, and

religion, and Jews have maintained a constant presence there for over 3,000 years. Zionism

represents the Jewish people’s unbreakable bond with their ancestral home, and the Jews’

continuous yearning for self-determination in their ancestral homeland.

        90.     For most Jews, therefore, “Zionism” is not a political viewpoint; rather, it is a key

component of their Jewish ethnic and ancestral identity.

        91.     There are only 15 million Jews on earth today. Nearly half of them live in the State

of Israel.

        92.     Jews have endured oppression and violence across Europe and the Middle East,

including genocide. Anti-Jewish bigotry still threatens Jews worldwide. Israel’s existence and

well-being are, therefore, vital to the Jewish people’s safety, survival, and human rights.

        93.     In this context, demanding that Jews who take pride in the Jews’ ancestral

connection to Israel and care about the survival of the Jewish people deny Israel’s right to exist is

tantamount to demanding that Jews shed the ethnic component of their Jewish identity. Denying

that Jews are “a people” with this shared ancestral and ethnic heritage is “erasive antisemitism.”

        94.     Similarly, harassing, marginalizing, ostracizing, or discriminating against a Jew

because they identify as Zionist is equivalent to targeting a Jew on the basis of the Jews’ shared

ethnic and ancestral heritage.

        95.     While some opponents of the Israeli government or specific Israeli policies call

themselves "antizionist," this label is fundamentally incorrect. To be antizionist is to oppose Jewish

self-determination in the State of Israel and to support (whether explicitly or tacitly) the destruction

of the State of Israel as a Jewish state.




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         96.    Anti-Zionists frequently use phrases like "criticizing Israel isn't antisemitic" to

deflect attention from their opposition to Israel's very existence. But Zionism does not require an

endorsement of the Israeli government, nor does it preclude support for Palestinian self-

determination or a Palestinian state.

         97.    There are many Zionists who have legitimate criticisms of the Israeli government,

just as there are many Americans who may have criticisms of their own government. 48 However,

when criticism is levied as a critique of the existence of Israel altogether, such criticism ceases to

be a policy concern and instead becomes antizionist and antisemitic. In short, anti-Zionism is a

movement against an integral part of Jewish identity, while criticism of the government of

Israel speaks to one’s political opinions.



      V. Antisemitic Acts Have Risen More than 337% Since the October 7 Attacks

         98.    If more evidence is needed concerning the link between antizionism and

antisemitism, the October 7 attacks and its aftermath is the perfect case study.

         99.    October 7 was the deadliest day for Jews since the Holocaust. Innocents, primarily

Jews and Israelis, were kidnapped, raped, burned alive, and slaughtered in the most brutal of ways

by members of an internationally recognized terrorist group.

         100.   If antizionism and antisemitism were not related, it would be reasonable to expect

that the impact on American Jews would have been nonexistent.




48
     https://www.adl.org/resources/backgrounder/zionism


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        101.   However, antisemitic incidents in the U.S. have risen a staggering 337% since the

October 7 attacks (as of mid-December 2023).49 Between October 7 and December 7, 2023 the

ADL recorded a total of 2,031 antisemitic incidents, up from 465 incidents during the same period

in 2022. This includes 40 incidents of physical assault, 337 incidents of vandalism, 749 incidents

of verbal or written harassment and 905 rallies including antisemitic rhetoric, expressions of

support for terrorism against the state of Israel and/or anti-zionism. On average, over the 61 days

between October 7 and December 7, 2023, Jews in America experienced nearly 34 antisemitic

incidents per day. This is no mere coincidence but is directly connected to the October 7 attacks.


     VI. Antisemitism on College Campuses Was Problematic Even Before October 7, 2023.

        102.   Antisemitism on college campuses has been a growing epidemic in the years

leading up to the October 7 attacks. 50

        103.   On May 25, 2023, OCR issued a “Dear Colleague” letter, which highlighted the

rising antisemitism51 across the nation, including in schools.52 This letter placed institutions on

notice that they needed to be on the lookout for antisemitism on their own campuses and that it

should be addressed promptly.




49
   ADL Reports Unprecedented Rise in Antisemitic Incidents Post-Oct. 7, ADL Press Release,
December 11, 2023 (https://www.adl.org/resources/press-release/adl-reports-unprecedented-rise-
antisemitic-incidents-post-oct-7).
50
   See https://www.adl.org/resources/report/anti-israel-activism-us-campuses-2021-2022.
51
   See generally Federal Bureau of Investigation, Supplemental Hate Crime Statistics, 2021, March
2023; see also, Anti-Defamation League, Audit of Antisemitic Incidents 2022, March 2023
(acknowledging rise in reported antisemitic incidents in K-12 schools and institutions of higher
education).
52
   https://www2.ed.gov/about/offices/list/ocr/docs/antisemitism-dcl.pdf


                                                29
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        104.    The purpose of this letter was to remind schools and universities that “Title VI

protects all students, including students who are or are perceived to be Jewish, from discrimination

based on race, color, or national origin.”

        105.    The letter further reminded schools and universities of the following:

Schools must take immediate and appropriate action to respond to harassment that creates a hostile

environment.53 OCR generally finds that a hostile environment exists where there is harassing

conduct that is sufficiently severe, pervasive, or persistent so as to interfere with or limit the ability

of an individual to participate in or benefit from the services, activities, or privileges provided by

a school.54

                If a hostile environment based on shared ancestry existed, and the school knew or

                should have known of the hostile environment, OCR will evaluate whether the

                school met its obligation under Title VI to take prompt and effective steps

                reasonably calculated to end the harassment, eliminate any hostile environment and




53
   See, e.g., Zeno v. Pine Plains Cent. Sch. Dist., 702 F.3d 655, 670 n.14 (2d Cir. 2012) (citing
school districts’ “longstanding legal duty to ‘take reasonable steps to eliminate’ racial harassment
in its schools” (quoting OCR’s Racial Incidents and Harassment Against Students at Educational
Institutions Investigative Guidance, 59 Fed. Reg. 11448, 11450 (Mar. 10, 1994))). For additional
information, please see Racial Incidents and Harassment Against Students at Educational
Institutions Investigative Guidance (March 1994); U.S. Department of Education Office for Civil
Rights, Harassment and Bullying Dear Colleague Letter (October 2010).
54
   See, e.g., Zeno, 702 F.3d at 665-66 (2d Cir. 2012) (explaining that harassment is actionable if it
is “‘severe, pervasive, and objectively offensive’ and discriminatory in effect” (quoting Davis ex
rel. LaShona D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 650–51 (1999)), and that
discriminatory actions restrict “‘an individual in any way in the enjoyment of any advantage or
privilege enjoyed by others receiving any service, financial aid, or other benefit’ under the school
system” (quoting 34 C.F.R. § 100.3(b)(1))); see also Racial Incidents and Harassment Against
Students at Educational Institutions Investigative Guidance (March 1994); U.S. Department of
Education Office for Civil Rights, Harassment and Bullying Dear Colleague Letter (October
2010).


                                                   30
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                its effects, and prevent harassment from recurring.55 In other words, a school

                violates Title VI when it fails to take adequate steps to address discriminatory

                harassment, such as antisemitic harassment. 56


     VII.       The Process for Registering a Student Organization at MIT

        106.    Student groups at MIT are approved by the Association of Student Activities

(“ASA”).

        107.    Student groups may be assigned different statuses: ASA Unfunded, ASA Funded,

ASA Sponsored, Club Sport, Non-Res FILG, Res FSILG, or Dorm.

        108.    Even groups which are unfunded still receive official recognition by the university,

can reserve space on campus, and can serve as the basis for a community on campus. 57

        109.    Funded groups are supposed to “promote student life for a significant portion of

campus, which are significantly unique from existing groups and have a purpose that cannot be

fulfilled by other existing student groups, and which have established a track record of excellence.

Funded status is harder to obtain, but also gives full access to Student Activities resources.” 58

        110.    Both funded and unfunded groups are permitted to use MIT in their names and in

event descriptions.59 Groups are also permitted to create and host websites through the main MIT

web server.60




55
   See U.S. Department of Education Office for Civil Rights, Harassment and Bullying Dear
Colleague Letter (October 2010).
56
   https://www2.ed.gov/about/offices/list/ocr/docs/antisemitism-dcl.pdf
57
   https://asa.mit.edu/group-privileges/fundedunfundedsponsored-groups
58
   https://asa.mit.edu/group-privileges/fundedunfundedsponsored-groups
59
   https://asa.mit.edu/group-privileges/compare-privileges
60
   https://asa.mit.edu/group-resources/group-websites


                                                 31
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        111.    All recognized groups on campus must adhere to the MIT Non-Discrimination

Clause,61 which among other things, prohibits discrimination on the basis of race, religion,

ancestry, or national or ethnic origin. 62

        112.    The ASA is a joint committee of the Undergraduate Association and the Graduate

Student Council. It is responsible for recognizing student groups and activities, allocating student

office space, and organizing activities that take place during orientation in August and Campus

Preview Weekend each April.


   VIII.    MIT Violates its own Anti-Discrimination Policies and Allows its Campus to
Become a Hostile Environment for Jewish Students.

            a. MIT Approves the Registration of Several Anti-Israel and Antisemitic Student
               Groups on Campus

                     i. MIT Coalition Against Apartheid

        113.    The MIT Coalition Against Apartheid (“MIT CAA”) is a registered student group

at MIT.63

        114.    MIT CAA has multiple faculty representatives who teach and/or advise MIT

students, including Plaintiffs and SCLJ Members.

        115.    MIT CAA advertises its mission on its MIT website: “Coalition Against Apartheid

is a student group at MIT focused on advancing anti-colonial and anti-apartheid organizing on

campus. We support the liberation of all peoples, with a focus on the Israeli occupation of




61
   https://asa.mit.edu/group-privileges/fundedunfundedsponsored-groups
62
   https://handbook.mit.edu/nondiscrimination
63
   As of the date of filing this Complaint, MIT has provisionally suspended MIT CAA. The
permanent outcome of these proceedings is unknown at this time.


                                                32
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Palestine. In addition to working for administrative and institutional change, we hold events on

campus that range from social to educational.” 64

          116.    Prior to October 7, 2023, and dating back for years, MIT CAA has a history of

disrupting and opposing Jewish and pro-Israel events at MIT’s campus. By way of example, the

group has held protests on Israeli Independence Day, has refused to participate in organized

dialogue with Israeli and Jewish student leaders, has called for the opposition of “normalization

with the Zionists,” and has hosted openly antisemitic speakers on campus. However, MIT CAA’s

activities escalated significantly after October 7.

          117.    As evidenced by MIT CAA’s posts on X (formerly Twitter), MIT CAA does not

recognize Israel’s right to exist. Tweets reposted by MIT CAA include the following:




64
     https://caa.mit.edu/


                                                  33
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       118.     Following the October 7 attacks, and as discussed in greater detail herein, MIT

CAA has openly endorsed the violent attacks against Jews and Israelis and has continued to call

for the genocide of Jews and the elimination of Israel 65 at official group functions on MIT’s

campus, which it has the authority to host by virtue of being a registered student group at MIT. As

an MIT-registered student group, MIT CAA was subject to MIT’s nondiscrimination policy, but

its conduct constituted a violation of that policy.


                   ii. Palestine@MIT

       119.     Palestine@MIT’s Facebook page states that the group exists to “raise political and

cultural awareness regarding the Palestinian people in the MIT community and greater Boston

area.”66

       120.     On its Linktree page, Palestine@MIT invites viewers to “Join the MIT Coalition

Against Apartheid,” thereby endorsing MIT CAA’s activities.67




65
   By way of example, such calls have come in the form of “from the river to the sea,” which is
understood to be a call for the elimination of the State of Israel; references the October 7 attacks
as “revolution;” or asserting that Jewish and Israeli members of the MIT community “can’t hide.”
See, e.g., infra ¶¶ 140, 145, 190.
66
   https://www.facebook.com/palestineatmit
67
   https://linktr.ee/palmit


                                                  34
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       121.    Unfortunately, Palestine@MIT has strayed far from its mandate by crossing the

line from advocating for Palestinian rights to instead calling for the genocide of Jews, supporting

the BDS Movement,68 and blaming Israel for Hamas’ attacks on Israeli civilians:




                                                                      69




       122.    Both MIT CAA and Palestine@MIT used and continue to use their registered

student group status and the MIT name to harass and discriminate against Jewish and Israeli

students at MIT.70




68
   https://www.facebook.com/BDSNationalCommittee/photos/a.129952410382961/31352993698
48235/
69
    https://www.instagram.com/p/CyJ0qtFpwdY/?img_index=1
70
    https://asa.mit.edu/group-privileges/fundedunfundedsponsored-groups;


                                                35
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             b. The Anti-Israel and Antisemitic Groups Approved by MIT Use Their Status
                to Intimidate and Harass Jewish Students on MIT’s Campus

                     i. Anti-Israel and Antisemitic Groups Approved by MIT Call for Violence
                        against Jews

          123.   On May 17, 2021, Palestine@MIT posted a picture on its Instagram page of

students holding signs at an organized event in front of an MIT building on MIT’s campus. One

sign reads, “From the River to the Sea.”71

          124.   As the ADL has explained, “From the River to the Sea” is “an antisemitic slogan

commonly featured in anti-Israel campaigns and chanted at demonstrations. This rallying cry has

long been used by anti-Israel voices, including supporters of terrorist organizations such as Hamas

and the PFLP [Popular Front for the Liberation of Palestine], which seek Israel’s destruction

through violent means. It is fundamentally a call for a Palestinian state extending from the Jordan

River to the Mediterranean Sea, territory that includes the State of Israel, which would mean the

dismantling of the Jewish state. It is an antisemitic charge denying the Jewish right to self-

determination, including through the removal of Jews from their ancestral homeland.” 72




71
     https://www.instagram.com/p/CO_5WzVlv9T/
72
     https://www.adl.org/resources/backgrounder/allegation-river-sea-palestine-will-be-free


                                                 36
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         125.    On October 22, 2022, MIT CAA hosted an event called “Allyship, Art, and

Apartheid,” which featured three speakers, one of whom was Mohammed El-Kurd.73 Upon

information and belief, MIT Student Activity Fee money was used to pay for Mr. El-Kurd to speak

at this event.

         126.    Mohammed El-Kurd has falsely accused Israelis of eating the organs of Palestinians

and having a particular lust for Palestinian blood. He has compared Israelis to Nazis and has

vilified Zionism and Zionists. 74

         127.    A sampling of some of Mohammed El-Kurd’s tweets include the following:




73
     https://www.instagram.com/p/CjqBk8euG-m/?hl=en
74
     https://www.adl.org/resources/backgrounder/mohammed-el-kurd


                                                 37
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       75




                                                                                      76




                                                                                       77



       128.   Nonetheless, El-Kurd's hateful speech did not stop entire departments at MIT from

endorsing or even co-sponsoring the Allyship, Art, and Apartheid event. The post announcing the

event shows that the event was also co-sponsored by: MIT Department of Women’s and Gender



75
   https://twitter.com/m7mdkurd/status/1393600442853167109
76
   https://twitter.com/m7mdkurd/status/1743975007947010232
77
   https://twitter.com/m7mdkurd/status/1742358664495640625


                                              38
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Studies, MIT Libraries, MIT Center for International Studies, and MIT Department of

Anthropology. The co-sponsorship of this event by multiple academic departments is indicative of

the hostile educational environment to which Jewish and Israeli students and graduate students at

MIT, including Plaintiffs and SLJC Members, have been subjected. Academic departments and

individual faculty members repeatedly endorse antisemitic positions, using the MIT name to do

so, which had (and still has) the effect of making Plaintiffs feel unwelcome at their own institution.

       129.    On April 18, 2023, MIT CAA’s Instagram featured a post about a Holocaust display

on Yom HaShoah. The post showed that the Holocaust memorial had been defaced with “Free

Palestine” slogans. The caption on MIT CAA’s picture was “Free Palestine.” This is a stark

demonstration of the connection between antisemitism and antizionism, and the reality that

antizionism is not a mere political movement but rather an attack against Jewish identity—a

Holocaust memorial has nothing to do with the political status of Palestinians yet everything to do

with Jewish history and identity.




                                                 39
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                   ii. After October 7, 2023, Anti-Israel and Antisemitic Student Groups’
                       Activities Intensified and Created a Hostile and Unsafe Environment for
                       All MIT Students.

       130.    On October 8, 2023, only one day after the horrific attacks on Israel, and before the

Israeli army had fully launched its defense mission, as noted above, MIT CAA and Palestine@MIT

posted on its blog a “Joint Statement on the Current Situation in Palestine.” They also sent an email

out to all undergraduate students via MIT’s Dormspam (i.e. MIT’s dormitory email platform)

containing the same content.

       131.    According to the Instagram post from Palestine@MIT on October 8, 2023, the joint

statement also was supported by MIT CAA, Palestine@MIT, MIT Black Graduate Student

Association, MIT Reading for Revolution, among others.78

       132.    The Joint Statement stated, in relevant part:

           Palestine@MIT and the MIT Coalition Against Apartheid hold the Israeli regime
           responsible for all unfolding violence. We unequivocally denounce the Israeli
           occupation, its racist apartheid system, and its military rule. Colonization is inherently
           violent, aimed at erasing and replacing indigenous peoples. We affirm the right of all
           occupied peoples to resist oppression and colonization.
           …
           What is happening in occupied Palestine is a response to an ongoing 75 years of
           occupation. It comes as a response to the settler colonial regime and the systemic
           oppression against Palestinians.

           We are committed to supporting decolonization efforts in Palestine, and we recognize
           our role to oppose Zionism from within the imperial core. 79

       133.    The letter was signed off, “Until liberation,” implying that more violence against

Jews was necessary and welcome.80




78
   https://www.instagram.com/p/CyJ0qtFpwdY/?img_index=1
79
   https://caa.mit.edu/blog/2023/10/8/statement/
80
   https://caa.mit.edu/blog/2023/10/8/statement/


                                                 40
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         134.   An Instagram posted jointly by MIT CAA and Palestine@MIT also endorsed the

October 7 violence, stating that “Colonization is inherently violent,” and the groups further

endorsed “the right of all occupied peoples to resist oppression and colonization.” 81 The

“resistance” referred to in the post was the October 7 attacks, which included the brutal murder,

rape, torture, and kidnapping of innocents—primarily Jews and Israelis.

         135.   On October 10, 2023, Jewish students on campus held a vigil in the wake of the

October 7 attacks. Counter-protesting students used chalk to write “Free Palestine” and

“Occupation on Gaza” directly outside of the vigil. Even though “Free Palestine” might be read as

being limited to Gaza and the West Bank, rather than the entirety of the land, including Israel,

“from the [Jordan] River to the [Mediterranean] Sea,” and while the phrase “Occupation on Gaza”

is also limited in its scope and thus arguably only a political assertion, writing those phrases

directly outside of a vigil organized by Jewish students only two days after more than 1,400

innocents, primarily Jews and Israelis were massacred, is clearly antisemitic. The chalking, in

violation of MIT policy, was done in an effort to target, harass, and intimidate Jewish students.

         136.   On October 17, 2023, a student from MIT CAA sent an email to all student group

members at MIT using MIT’s email system, falsely stating that “Israel dropped bombs on the al-

Ahli Arab Hospital where thousands of Palestinians displaced by the current genocide were

seeking shelter and care. Over 500 people and counting were massacred.” Claims that Israel

bombed the al-Ahli Hospital have been widely discredited by a variety of governmental and

independent sources. It became clear that the damage was actually caused by a rocket launched by




81
     https://www.instagram.com/p/CyJ0qtFpwdY/?img_index=1


                                                41
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the Palestinian Islamic Jihad. 82 MIT CAA had the ability to email all student group members using

MIT’s name because of its status as an MIT student group.83 MIT knew or should have known that

its email system and name was being used to communicate in this manner with the MIT

community, including Plaintiffs and SCLJ Members, but chose to do nothing.

        137.   Jewish students who responded by sharing information which discredited this

rumor were attacked online by their peers. One student encountered such a hostile environment in

a study group, that they felt they could no longer participate.

        138.   The email from MIT CAA then invited all recipients to a rally that was scheduled

for October 19, 2023 outside of the MIT Student Center.

     139.      The rally mentioned in the October 17 email (from MIT CAA) took place two days

        later on campus. At this rally, Jewish and Israeli students were harassed and assaulted.

     140.      Plaintiffs and SCLJ Members were personally impacted by on-campus protests and

        rallies held by student groups, including MIT CAA, which Plaintiffs and SCLJ Members

        personally witnessed and/or attempted to walk by and/or pass through. Rallies and protests,

        such as the October 19 rally, included antisemitic harassment and abuse directed toward

        and/or witnessed by Plaintiffs and SCLJ Members which caused them to feel unsafe and/or

        unwelcome on campus.

     141.      Plaintiff Meyer was assaulted by an attendee of the rally. Plaintiff Meyer was

        standing with another Jewish student when they were approached by the protestor who




82
   Evidence that the damage was caused by a mid-flight failure of an Islamic Jihad rocket: (NYT,
WSJ, CNN, NPR). The Senate Intelligence Committee, as well as President Joe Biden, have
confirmed this investigation, with Biden telling Israeli PM Netanyahu that it “appears as though it
was done by the other team, not you.”
83
   https://asa.mit.edu/group-privileges/compare-privileges


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        raised the front wheels of his bike at them and said, “Your ancestors [(referring to

        Holocaust victims)] didn’t die to kill more people.”

     142.      Attendees, in large numbers, chanted a variety of slogans, many of which directly

        call for violence against Jews. These included:

                    i. “Palestine will be free, from the river to the sea!” 84

                   ii. “There is only one solution! Intifada revolution!”85

        143.   The antisemitic harassment and abuse experienced by Jewish and Israeli students

at MIT, including Plaintiffs and SCLJ Members, at rallies and protests was objectively offensive

and known to MIT and its administration, through reports, security monitoring of events, and other

means. The antisemitic harassment and abuse at rallies and protests violated MIT’s campus

policies, including but not limited to its nondiscrimination and harassment policies; however, there

were no repercussions for these policy violations.

        144.   On October 23, 2023, MIT CAA staged a walkout and planned disruptions of

classes throughout campus. Protestors left classes and interrupted other classes by shouting,

unfurling Palestinian flags in classrooms, and using megaphones to broadcast their message.

Protestors left classes and interrupted other classes. Protestors also gathered in the vicinity of

Lobby 7, which is not an authorized protest area. Indeed, Lobby 7 is a major thoroughfare (the




84
   “From the River to the Sea” refers to the elimination of entire nation of Israel, which exists
between         the       Jordan       River      and      the      Mediterranean        Sea.       See
https://www.adl.org/resources/backgrounder/slogan-river-sea-palestine-will-be-free. This is a
call not for a two-state solution, but instead a cry for a wholesale elimination of the state of Israel
in favor of a Palestinian state in its place.
85
   “Intifada” literally translates to “uprising” or “shaking off.” The term is used to describe periods
of intense Palestinian protest against Israel, mainly in the form of violent terrorism, ranging from
single acts of violence to mass suicide bombings. The First Intifada took place from 1987-1990
and the Second Intifada occurred from 2000-2005. See https://www.ajc.org/news/what-does-
globalize-the-intifada-mean-and-how-can-it-lead-to-targeting-jews-with-violence.


                                                  43
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entry to MIT’s famous Infinite Corridor) through which many students, including Plaintiffs and

SCLJ Members, often must travel in order to attend class or other on-campus events.

       145.    On October 30, 2023, in direct contravention of MIT policy, MIT CAA organized

a “Die In” in Lobby 7, which, again, is not a permitted protest space. Protesters also taped up

posters (in violation of MIT’s policies) of Gazans all over lecture halls and campus buildings. By

contrast, MIT selectively enforced its policies against Jewish and Israeli students, requiring

removal of their banners and posters calling attention to the terrorist attacks of October 7. As with

the other MIT CAA protests before it, MIT took no action to stop this MIT CAA Die In, in spite

of the fact that it violated MIT policy and disrupted campus activities.

       146.    On November 2, 2023, MIT CAA hosted, and its student members participated in,

targeted protests outside the offices of Jewish professors and the office of MIT’s Israel internship

program (MISTI, MIT International Science & Technology Initiatives).

       147.    According to one professor, “They insistently rattled the door handles of offices

that were closed with staff inside; and they congregated outside of and entered the office that

facilitates MISTI’s programming in the Middle East, and at least one other office. Their chants

included: ‘From the river to the sea…’, ‘MISTI, MISTI, you can’t hide,’ and others associating

MISTI with genocide.” After the incident, many staff reported feeling alarmed, intimidated and

even afraid during the protest. Some staff members said they felt trapped in their offices, anxious

about the prospect of verbal and/or physical assault. There were, however, no repercussions for

this incident and MIT did not send police.




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            c. The U.S. Department of Education Addresses College Campuses’ Failure to
               Curtail Antisemitism on Campuses

       148.    On November 7, 2023, The Biden-Harris administration announced in a press

release that the DOE had issued a Dear Colleague letter, reminding schools of their obligations

under Title VI of the Civil Rights Act of 1964. 86

       149.    The press release specifically stated that Jewish students are covered under the

protections afforded by Title VI and called out the rise in reports of antisemitism on college

campuses.

       150.    The press release further reminded colleges that “Schools that receive federal

financial assistance have a responsibility to address discrimination when the discrimination

involves racial, ethnic, or ancestral slurs or stereotypes; when the discrimination is based on a

student’s skin color, physical features, or style of dress that reflects both ethnic and religious

traditions, to name a few characteristics. Likewise, schools have a responsibility to address

discrimination against students based on the region of the world they come from or are perceived

to come from.”

       151.    MIT is a school that receives federal financial assistance and therefore has an

obligation to comply with Title VI and all associated standards.

       152.    The Dear Colleague letter that was sent to universities, including MIT, stated in no

uncertain terms that universities have a “legal obligation under Title VI to address prohibited

discrimination against students and others on your campus—including those who are or are

perceived to be Jewish, Israeli, Muslim, Arab, or Palestinian…”87 In other words, schools may not



86
   https://www.ed.gov/news/press-releases/us-department-education-reminds-schools-their-legal-
obligation-address-discrimination-including-harassment
87
             https://www2.ed.gov/about/offices/list/ocr/letters/colleague-202311-discrimination-
harassment-shared-ancestry.pdf


                                                 45
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simply wait for a wave of antisemitism to blow over. They have an affirmative obligation to

address the problem.

       153.    Indeed, the letter states:

                       Harassing conduct can be verbal or physical and need not be directed at a
                       particular individual. OCR interprets Title VI to mean that the following
                       type of harassment creates a hostile environment: unwelcome conduct
                       based on shared ancestry or ethnic characteristics that, based on the totality
                       of circumstances, is subjectively and objectively offensive and is so severe
                       or pervasive that it limits or denies a person’s ability to participate in or
                       benefit from the recipient’s education program or activity. Schools must
                       take immediate and effective action to respond to harassment that creates a
                       hostile environment.

            d. In Spite of Admonitions from the President and the Department of Education
               that Colleges and Universities Have a Responsibility to Address
               Discrimination against Jewish Students, MIT Allowed Antisemitism to Fester
               on Campus

       154.    Rather than heeding the requirements in the Dear Colleague letter sent by the DOE,

MIT allowed a large protest to take place only two days later.

       155.    On November 9, 2023, MIT CAA and the MIT student group Coalition for

Palestine, among others, again protested in Lobby 7 on MIT’s campus, again in contravention of

MIT’s policies. MIT CAA also invited the general public to the protest, which, according to MIT

CAA’s Instagram post, was scheduled to last all day—another violation of MIT policy. 88

       156.    As a result of MIT CAA’s invite, protestors from all over the city flooded MIT’s

campus.89

       157.    MIT was aware that these protests were taking place, but rather than enforcing its

own policy to appropriately control the manner of the protests, it instead opted to shift the burden



88
   https://www.instagram.com/p/CzZLuQROELO/?hl=en
89
  https://www.instagram.com/reel/Czb_tNSO1sq/?utm_source=ig_web_copy_link&igshid=MzR
lODBiNWFlZA==


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and warn Jewish students that, for their own safety, they should stay away from their own campus

while outsiders took over those spaces in contravention on MIT policy. Consequently, MIT Hillel

posted the following warning to Jewish students:




       158.    MIT Advisory, an official MIT email account, issued a similar warning to all

students on campus, warning them to avoid the unauthorized protests and once again opting to

protect the students harassing and discriminating against Jewish and Israeli students, rather than

protecting those students and/or enforcing MIT policies:




       159.    During the Fall of 2023, MIT professors also warned Jewish and Israeli students,

including Plaintiffs and SCLJ Members, to avoid the protests for fear of their safety. This is also

difficult to do, because Lobby 7 is a central throughfare on campus. While it is possible to enter




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campus through other routes, Lobby 7 presents one of the most convenient access points to MIT’s

campus for students attending classes and other activities. During the protests, calls for violence

against Jews were made on several occasions, which were personally observed by and even

directed toward Plaintiffs and SCLJ Members. The language used included calls for “intifada,”

“from the river to the sea,” and “Resistance is justified.” To be clear, the “resistance” that began

these protests was the October 7 attacks—a Hamas orchestrated murder of innocents, primarily

Jewish and Israeli civilians.

       160.    Moreover, MIT professors, faculty, and staff participated in the November 9 protest

and also harassed Jewish students.

       161.    One Jewish student, who was recording the protest on her phone, was shoved by a

protestor.

       162.    In the early afternoon of November 9, 2023, MIT officials warned the protestors

that they needed to leave no later than 12:15 pm., or they could face disciplinary action. However,

the protestors remained.

       163.    A publicly posted tweet on X from Professor Retsef Levi detailed the experience

of Jewish students, including Plaintiffs and SCLJ Members, on campus that day.90

       164.    Specifically, Professor Levi wrote,

               “Jewish and Israeli MIT students were physically prevented from attending a class
               by a hostile group of pro-Hamas and anti-Israel MIT students that call themselves
               the CAA. This is after students from the CAA harassed MIT staff members in their
               offices for being Jewish and interrupted classes in the past few weeks. All of this
               has occurred with no clear response from the administration. With each passing
               day, MIT admin’s silence makes Jewish and Israeli students feel unsafe at MIT.


90
  https://twitter.com/RetsefL/status/1722852140245254559?ref_src=twsrc%5Etfw%7Ctwcamp
%5Etweetembed%7Ctwterm%5E1722852140245254559%7Ctwgr%5Ee9cb43c4af20bbae3b637
78489707751471d37b2%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.dailysignal.com%
2F2023%2F12%2F14%2Frenowned-science-engineering-institute-loses-way-woke-leadership-
imperiling-jewish-students%2F


                                                48
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     Many Jewish students fear leaving their dorm rooms and have stated that they feel
     MIT is not safe for Jews. This message is compounded by the public and private
     warnings of Hillel and many faculty that Jewish students should not enter MIT’s
     main lobby today, November 9th, 2023. Instead of dispersing the mob or de-
     escalating the situation by rerouting all students from Lobby 7, Jewish students
     specifically were warned not to enter MIT’s front entrance due to a risk to their
     physical safety. The onus to protect Jewish students should not be on the students
     themselves. MIT administration recently announced guidelines to avoid illegal and
     unsafe protests on campus. The CAA, which planned the protest, knowingly and
     proudly violated these requirements, and even invited people from outside of MIT
     to join them. Their actions inhibit the possibility of safe and peaceful dialogue and
     endanger Jewish students on campus. The CAA hosted a blockade that not only
     disregards MIT guidelines, but also obstructs Jewish students from attending
     classes. Some Jewish students who saw the administration’s failure to respond to
     the targeted harassment of Jews on campus by the CAA came together to support
     each other and peacefully together stand against this threat to their safety. Four
     hours after the blockade started, at 12 pm, the MIT administration passed a letter to
     all students, threatening their suspension if the crowds did not disperse from Lobby
     7. Only the Jewish students left immediately. The CAA protesters did not
     cooperate. Indeed, the CAA proceeded to invite more students and non-MIT
     protestors to join them in calling for a violent uprising (“Intifada”) and justifying
     the terror attacks of Hamas on Israeli civilians. At 5 pm, all students on campus
     were warned through MIT’s emergency notification system to “avoid Lobby 7” ––
     officially recognizing the danger present to students as a result of this violent
     protest. No Jewish or Israeli students were present at this point. As of 10:30 tonight
     MIT has officially decided not to academically suspend CAA students who
     repeatedly violated the administration's guidelines and threats. They have shown
     that actions against Jews at MIT do not have consequences. Additionally, in an
     email to DUSP [Department of Urban Studies and Planning] students, the
     Department Head indicated that he would protect any DUSP students involved in
     violating MIT’s rules today by protesting with the CAA. Not only do Jewish
     students feel unsafe on campus, but now they also feel excluded from and unsafe
     in DUSP. Today, on the 9th of November, on the 85th anniversary of Kristallnacht,
     which marked the beginning of the Holocaust, Jews at MIT were told to enter
     campus from back entrances and not to stay in Hillel for fear of their physical safety.
     We are seeing history repeating itself and Jews on MIT’s campus are afraid. Signed,
     The MIT Israel Alliance and its supporters.




                                       49
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          165.   Finally, later on November9, 2023, in a letter signed by MIT President Sally

Kornbluth, MIT made a statement explicitly acknowledging that the conduct of the protesters

violated MIT’s policies, as shown in the image below:




          166.   However, shortly after the announcement was made, other MIT faculty members,

including MIT professors, wrote to students and let them know that if they were disciplined for

failing to vacate the Lobby 7, students could approach them for support.

          167.   Subsequently on that same day, MIT President Kornbluth sent a letter to members

of the MIT community, addressing the protests. 91 The letter acknowledged that the protests were

“disruptive, loud and sustained through the morning hours” and that it “was organized and

conducted in defiance of those MIT guidelines and policies” to the point where the administration

“had serious concerns that it could lead to violence.” President Kornbluth’s letter further specified

that “the administration felt it was essential to take action.”




91
     https://president.mit.edu/writing-speeches/todays-protest-and-counterprotest


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       168.    Consequently, students were told they had to vacate Lobby 7 by a certain time, or

they would be subject to suspension. While some students left, others remained, despite MIT

providing formal notice that doing so was a violation of MIT policy.

       169.    However, the MIT administration quickly backtracked on this threat: “Because we

later heard serious concerns about collateral consequences for the students, such as visa issues, we

have decided, as an interim action, that the students who remained after the deadline will be

suspended from non-academic campus activities. The students will remain enrolled at MIT and

will be able to attend academic classes and labs. We will refer this interim action to the Ad Hoc

Complaint Response Team, which includes the chair of the Committee on Discipline, for final

adjudication.”92

       170.    At this time, there is no indication that any actual disciplinary measures, let alone

the measures set forth in applicable MIT policies, were taken against the students who violated

MIT’s polices. In any event, the measures taken by MIT (and not taken by MIT) have been

insufficient to deter the ongoing discrimination and harassment of Jewish and Israeli students on

MIT’s campus.93

       171.    Undeterred by MIT’s (empty) threats, MIT CAA co-sponsored another rally at

MIT, which blocked entrances to campus buildings, including (again) Lobby 7, as well as streets




92
   Plaintiffs do not base their claims on a challenge of the Institute’s disciplinary decisions.
However, Plaintiffs do take issue with the Institute’s failure to address and control antisemitism.
Through the Institute’s failure to follow through on threatened consequences, antisemitic
protesters were emboldened.
93

https://twitter.com/RetsefL/status/1722852140245254559?ref_src=twsrc%5Etfw%7Ctwcamp%5
Etweetembed%7Ctwterm%5E1722852140245254559%7Ctwgr%5Ee9cb43c4af20bbae3b637784
89707751471d37b2%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.dailysignal.com%2F2
023%2F12%2F14%2Frenowned-science-engineering-institute-loses-way-woke-leadership-
imperiling-jewish-students%2F


                                                51
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around campus. Once again, protestors called for violence against Jews, chanting, “There is only

one solution: Intifada revolution,” a single phrase invoking notions of both Hitler’s so-called

“Final Solution” (i.e. mass extermination) for Jews as well as rebellion against the only Jewish

state.

          172.   One of the speakers at the protest went even further and gave a speech, which,

among other things, told fellow protesters, “It is our duty to fight… history requires trouble…

resistance is resistance…it is not enough to exist passively…not enough for us to come out and

march…we have to shake history with our own two hands…when we free Palestine the whole

damn world is coming with us…resistance requires sacrifice.” “Resistance” in the post-October7

context has consistently been understood, including by Plaintiffs and other members of the campus

community, to include the acts of terrorism and violence perpetrated against Israelis. The use of

“resistance” in this context has caused Jewish and Israeli students at MIT, including Plaintiffs and

SCLJ Members, to feel unwelcome and unsafe on campus and at MIT-connected events.

          173.   Other leaders of MIT CAA also spoke at the rally and specifically stated that the

MIT leadership had not deterred them from taking action: “Sally Kornbluth is new to MIT; she

doesn’t know how we operate yet. We won't back down…We stood up to one of the most powerful

institutes in the world and got THEM to back down!”


             e. MIT’s Leadership and Faculty, Individually and through University Offices,
                Not Only Failed to Protect Jewish Students, but Furthered the Aims of the
                Anti-Israel and Antisemitic Actions Being Taken against Jewish Students.

          174.   One postdoc94 associate at MIT tweeted numerous times about his hatred for

Zionists, even going as far as to call Zionism a “mental illness” and equating Jews with Nazis. He




94
     Postdocs are both students and employees of MIT. They receive a salary from the university.


                                                 52
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also falsely claimed in a tweet that “Zionists not only steal our lands, food, and culture, but our

dead bodies as well for organ harvesting.”




          175.   After this tweet was posted, concerned students contacted the MIT Diversity,

Equity, Inclusion (“DEI”) office. The DEI office told the student in an email, “…I would be very

cautious before accusing any one of our colleagues, staff, or trainees of hate speech. Can I gently

suggest, in the same spirit of working against polarization, that if we believe (as I genuinely do)

that it is wrong to accuse Israeli soldiers of harvesting organs, it may also be a little misleading

and inflammatory to compare recirculating, in effect, an old and decontextualized but confirmed

report, to accusing Jews of murdering Christian children for ritual purposes (‘blood libel’)?”

          176.   No part of the organ-harvesting blood libel is “confirmed.” According to the ADL,

“The ‘blood libel’ refers to a centuries-old false allegation that Jews murder Christians – especially

Christian children – to use their blood for ritual purposes, such as an ingredient in the baking of

Passover matzah (unleavened bread). It is also sometimes called the ‘ritual murder charge.’ The

blood libel dates back to the Middle Ages and has persisted despite Jewish denials and official

repudiations by the Catholic Church and many secular authorities. Blood libels have frequently

led to mob violence and pogroms and have occasionally led to the decimation of entire Jewish

communities.”95


95
     https://www.adl.org/resources/backgrounder/blood-libel-false-incendiary-claim-against-jews


                                                 53
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       177.    On January 16, 2024, at an interfaith event called “Planetary Health: indigenous

Land, People and Bodies,” MIT’s Interfaith Chaplain and Spiritual Advisor to the Indigenous

Community at MIT diverted the conversation from the topic of the event on multiple occasions to

proclaim that Palestinians are being “wrongfully subjugated and oppressed by white European

colonizers” and made many similar comments. 96

       178.    A non-Jewish student wrote to MIT to express his concern about how Jews seemed

targeted and likely felt unsafe at the MIT event and further expressed their own discomfort at how

the chaplain had conducted herself at the event.


           f. MIT’s President is Called to Testify Before Congress

       179.    On November 28, 2023, the U.S. House Committee on Education and the

Workforce announced that it would hold a hearing, titled “Holding Campus Leaders Accountable

and Confronting Antisemitism.”97

       180.    “Over the past several weeks, we’ve seen countless examples of antisemitic

demonstrations on college campuses. Meanwhile, college administrators have largely stood by,

allowing horrific rhetoric to fester and grow,” said Chairwoman Virginia Foxx. She continued,

“College and university presidents have a responsibility to foster and uphold a safe learning

environment for their students and staff. Now is not a time for indecision or milquetoast statements.

By holding this hearing, we are shining the spotlight on these campus leaders and demanding they

take the appropriate action to stand strong against antisemitism.” 98



96
   The notion that all Jews are white is patently false. “Approximately 30% of Israeli Jews are
Ashkenazi, or the descendants of European Jews.” See https://www.latimes.com/opinion/op-ed/la-
oe-mazzig-mizrahi-jews-israel-20190520-story.html. However, those desiring to frame Jews as
colonial occupiers often attempt to frame all Jews as “white.”
97
   https://edworkforce.house.gov/news/documentsingle.aspx?DocumentID=409778
98
   https://edworkforce.house.gov/news/documentsingle.aspx?DocumentID=409778


                                                   54
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       181.    President Kornbluth appeared before Congress along with the presidents of the

University of Pennsylvania and Harvard on Tuesday, December 5, 2023.

       182.    At the beginning of the hearing, MIT President Kornbluth gave a brief statement,

wherein she affirmed, despite the occurrence of the events described above, that “the right to free

speech does not extend to harassment, discrimination or incitement to violence in our community.

MIT policies are clear on this. To keep the campus functioning, we also have policies to regulate

the time, manner and place of demonstrations.” 99

       183.    As the hearings progressed, however, Dr. Kornbluth backtracked on this statement.

During the course of the congressional hearings, President Kornbluth was asked if the conduct that

had taken place toward Jewish students at MIT had violated MIT’s Code of Conduct:

               ELISE STEFANIK: Dr. Kornbluth, does — at MIT, does calling for the genocide

               of Jews violate MITs code of conduct or rules regarding bullying and harassment,

               yes or no?

               SALLY KORNBLUTH: If targeted at individuals, not making public statements.

               ELISE STEFANIK: Yes or no, calling for the genocide of Jews does not constitute

               bullying and harassment?

               SALLY KORNBLUTH: I have not heard calling for the genocide for Jews on our

               campus.

               ELISE STEFANIK: But you’ve heard chants for intifada?

               SALLY KORNBLUTH: I’ve heard chants, which can be anti-Semitic depending

               on the context when calling for the elimination of the Jewish people.




99
        https://rollcall.com/2023/12/13/transcript-what-harvard-mit-and-penn-presidents-said-at-
antisemitism-hearing/


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               ELISE STEFANIK: So, those would not be according to the — MITs code of

               conduct or rules?

               SALLY KORNBLUTH: That would be investigated as — as harassment, if

               pervasive and severe.100

       184.    According to the U.S. Department of Education’s website, a Title VI investigation

was opened relating to MIT on December 13, 2023. 101


   IX. MIT’s Response to the Harassment and Assault of Jewish Students on Campus Has
Been Inadequate and Ineffective and Continues to Embolden Antisemitic Acts on Campus

       185.    Even after MIT had received two letters from DOE concerning antisemitism on

campus, even after MIT had its president invited to testify before Congress, and even after a Title

VI investigation was opened against MIT, the MIT administration continues to fail to appropriately

address antisemitism on campus, and antisemitism on campus continues unabated.

       186.    In the November/December MIT Faculty Newsletter, Michel DeGraff, a Professor

of Linguistics published a piece ironically called, “Standing Together Against Hate: From the

River to the Sea, From Gaza to MIT.” The letter thanked MIT CAA and the MIT Coalition for

Palestine, falsely accused Israel (once again) of bombing a hospital, and insinuated that anyone

who disagreed with her did so based purely on race and not the substance of their opinions. This

MIT professor signed letter with the same slogan as its title, “from the river to the sea, from Gaza

to MIT….”102




100
          https://rollcall.com/2023/12/13/transcript-what-harvard-mit-and-penn-presidents-said-at-
antisemitism-hearing/
101
    https://www2.ed.gov/about/offices/list/ocr/sharedancestry-list.html
102
       https://fnl.mit.edu/november-december-2023/standing-together-against-hate-from-the-river-
to-the-sea-from-gaza-to-mit/


                                                56
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       187.    On or around December 6, 2023, MIT CAA and the MIT Coalition for Palestine

hosted an event with Miko Peled.103 During the event, Peled encouraged his audience to go to MIT

Hillel and confront MIT’s Jewish students there about Gaza. Peled also openly denied many of the

atrocities of the October 7 attacks. And during the speech, Peled made a joke about not being able

to say, “From the River to the Sea;” students laughed and some began chanting the phrase.

       188.    When students contacted MIT’s Institute Discrimination & Harassment Response

Office (“IDHR”) concerning antisemitic events that occurred on campus, they were informed that

the reported contact did not “seem to violate the policies that IDHR has jurisdiction over” and

suggested that the student might be confused about the definition of harassment under MIT’s

policies. One student, Plaintiff Meyer reported concerning antisemitism she and peers had

experienced only to be told that Jewish students were not members of a protected class. This is not

true. To the contrary, the MIT’s policy on harassment based on protected class expressly covers

religious minorities, including Jews, and Title VI protects Jews on the basis of their shared

ancestry.104

       189.    In December 2023, the MIT Women and Gender Studies Department co-hosted an

event with the MIT Coalition for Palestine and invited students to join its book club, wherein the

group would be reading a book by Ahed Tamimi, who posted on X, “Come on settlers, we will

slaughter you. We are waiting for you in all cities of the West Bank. What Hitler did to you was a

joke. We will drink your blood and eat your skulls. We are waiting for you.” 105




103
     https://www.youtube.com/watch?v=ABcW7GE3jrw
104
     https://www2.ed.gov/about/offices/list/ocr/docs/qa-titleix-anti-semitism-20210119.pdf
105
    https://twitter.com/HillelNeuer/status/1721495003468632266?ref_src=twsrc%5Etfw%7Ctwca
mp%5Etweetembed%7Ctwterm%5E1721495003468632266%7Ctwgr%5E1d094c0927506764fe
9382acf0975ddf3d53b547%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Funwatch.org%2Famn
esty-international-poster-girl-ahed-tamimi-is-hitler-loving-antisemite%2F


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       190.    Instead of condemning Tamimi’s invitations for more violence against Jews, the

Program Manager for the MIT Women and Gender Studies Department invited students to

sympathize with her. Events like these were and are extremely isolating to Jewish and Israeli

students and make it clear that Jews and Israelis are not welcome—and possibly not physically

safe—at these events or in these departments.

       191.    On December 14, 2023, MIT CAA and Palestine@MIT jointly posted on Instagram

that they were undeterred, writing, “We will continue to be loud and be heard and not be deterred

away from our fight for Palestine and our fight against MIT’s complicity with the occupation.

When we return next semester, we will be even stronger and even bigger to make sure that there

will be no business as usual at MIT until Palestine is free! From the river to the sea 🇵🇸✊💪🇵🇸”

       192.    On January 22, 2024, the MIT Israel Alliance, of which at least one Plaintiff is a

member, sent an email to MIT’s administration, expressing their concern that MIT had failed to

deter any of the discriminatory and harassing behavior toward Jewish and Israeli students.

       193.    The letter pointed out that the events at MIT had made life so difficult for Jewish

students that some had even relocated to or chosen to stay in Israel, an active war zone, rather than

staying at MIT.

       194.    The letter further asked MIT to outline what measures it planned to take to ensure

that students could attend MIT in an environment free from discrimination and harassment.


   X. MIT’s Policies Concerning Harassment Have Been Unequally and Selectively
Enforced Relating to Jewish Students as Compared to Other Minorities on Campus

       195.    MIT’s enforcement of its policies described in Section II of this Complaint were

applied in an arbitrary and capricious manner as to Plaintiffs.




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       196.    In failing to consistently apply its policies to protect Jewish students against hate

speech and harassment and intimidation, MIT’s actions constituted a substantial departure from

academic norms and acceptable professional judgment.

       197.    MIT’s selective enforcement of its policies predates 2023. By way of example, in

2021 MIT canceled the speech of a prestigious geophysicist, Doran Abbott who had been a vocal

critic of certain aspects of affirmative action and diversity programs. 106 Even though Abbott said

that the lecture he planned to give at MIT would not have contained any discussions about his

views on affirmative action or diversity programs, MIT canceled his speech.

       198.    In defending the MIT’s decision to cancel Mr. Abbott’s lecture, Robert van der

Hilst, the head of the department at MIT who canceled the lecture, stated, “Besides freedom of

speech, we have the freedom to pick the speaker who best fits our needs…Words matter and

have consequences.”107

       199.    Following this event, MIT modified its policy on Freedom of Expression, affirming

its commitment to freedom of expression on campus.108 But importantly, the statement also

contained critical language which, for the protection of students and their ability to pursue their

education at MIT, limits that freedom:


               MIT does not protect direct threats, harassment, plagiarism, or other speech that
               falls outside the boundaries of the First Amendment. Moreover, the time, place,
               and manner of protected expression, including organized protests, may be
               restrained so as not to disrupt the essential activities of the Institute.

               At the intersection of the ideal of free expression and MIT community values lies
               the expectation of an affirming, respectful learning and working environment. We
               cannot prohibit speech that some experience as offensive or injurious. At the same


106
    https://www.nytimes.com/2021/10/20/us/dorian-abbot-mit.html
107
    https://www.nytimes.com/2021/10/20/us/dorian-abbot-mit.html
108
                              https://facultygovernance.mit.edu/sites/default/files/reports/2022-
09_Proposed_MIT_Statement_on_Freedom_of_Expression_and_Academic_Freedom.pdf


                                                59
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                time, MIT deeply values civility, mutual respect, and uninhibited, wide-open
                debate. Controversies over free expression are opportunities for learning rather than
                occasions for disciplinary action. This applies broadly. For example, when MIT
                leaders speak on matters of public interest, whether in their own voice or in the
                name of MIT, this should always be understood as being open to debate by the
                broader MIT community.

                A commitment to free expression includes hearing and hosting speakers, including
                those whose views or opinions may not be shared by many members of the MIT
                community and may be harmful to some. This commitment includes the freedom
                to criticize and peacefully protest speakers to whom one may object, but it does
                not extend to suppressing or restricting such speakers from expressing their
                views. Debate and deliberation of controversial ideas are hallmarks of the
                Institute’s educational and research missions and are essential to the pursuit of truth,
                knowledge, equity, and justice. 109

        200.    Although MIT modified its expression policy, MIT still retained the ability to

impose restrictions on speech on its campus. Moreover, MIT maintained the provisions in its

handbook which banned discriminatory and harassing behavior.

        201.    MIT has the tools both under the law and through its own policies to stop the

harassment of and discrimination against Jewish and Israeli students, but MIT has failed to use its

authority to do this.

        202.    In addition to its failures to take action as set forth above, MIT has, in contravention

of its policies, selectively enforced its flag policies against Jewish and Israeli students, including

Plaintiffs and SCLJ members. By way of example, a Belgian flag has been hanging from an office

for approximately three years. However, MIT administrators required students flying Israeli flags

to remove them and even threatened to send facilities staff over to remove flags if students would

not do it themselves.




109
                           https://facultygovernance.mit.edu/sites/default/files/reports/2022-
09_Proposed_MIT_Statement_on_Freedom_of_Expression_and_Academic_Freedom.pdf
(emphasis added).


                                                  60
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         203.   Specifically, Plaintiff Boukin and another Jewish doctoral student displayed Israeli

flags on MIT’s campus. One Jewish student also displayed a banner stating “No excuse for terror.”

Following the October 7 terrorist attacks in Israel, these students were required to remove their

flags and banners. At the same time such flag requirements were not applied to students or faculty

flying Palestinian flags.

         204.   MIT administrators have allowed Palestinian flags to remain on campus, while

Jewish and Israeli students have been asked and/or forced to remove their Israeli flags:




      205.      On November 8, 2023, MIT announced that large banners and flags were no longer

         permitted to be displayed. Further, the announcement stated that it is impermissible to

         disrupt living, working, and learning spaces at MIT.110 These new policies were wholly

         inadequate to address the hostile antisemitic campus environment because MIT refused to


110
       https://orgchart.mit.edu/letters/campus-safety-and-policies-around-protests-postering-and-
free-expression


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          actually enforce these new policies against students, including MIT CAA, who engaged in

          antisemitic harassment or protests. As a result, the announcement of these new policies did

          nothing to deter MIT CAA and protesters from continuing to disrupt the educational

          experience of Jewish and Israeli students on campus.

      206.       Near the end of the Fall term, President Kornbluth reached out to a group of faculty

          to serve as advisors on a committee aimed at structuring communication and conversations

          surrounding antisemitism on campus. Unfortunately, the Jewish and Israeli faculty

          members who were asked to serve on the committee did not feel that the communications

          were successful and subsequently resigned because they felt that the group was doing

          nothing to address antisemitism on campus.

      207.       On February 12, 2024, MIT CAA, assisted by MIT faculty and staff members, held

          yet another unauthorized protest in Lobby 7, where students once again, in contravention

          of MIT policies, unfurled large flags, took over the lobby of the building, and chanted

          “From the River to the Sea, Palestine will be free!” This protest violated MIT’s time place

          and manner restrictions, its rule that protests must be registered at least three days in

          advance, its policy that protests should not be disruptive, and MIT’s policy on flags. 111

      208.       Unfortunately, even this failed to serve as a deterrent, and in response to ongoing

          antisemitism on campus, on February 26, 2024, a group of faculty members published a

          32-page report, detailing several antisemitic events on MIT’s campus, which is attached as

          Exhibit A to this Complaint.




111
      https://twitter.com/StopAntisemites/status/1757404628591739027


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   XI. MIT’s Failure to Enforce its Anti-Discrimination Policies and Keep its Promises to
Protect its Students Affects All Students

        209.    MIT’s failure to enforce and/or selective enforcement of its own anti-discrimination

and anti-harassment policies does not just impact Jewish and Israeli students.

        210.    Rather, by allowing antisemitism to flourish on campus, MIT has created a hostile

environment where incidents of violence and harassment are prevalent. MIT has thus rendered the

campus unsafe for all students and disrupted the ability of all students to learn and participate in

campus activities and programs in the ways they were promised when they enrolled at MIT.

        211.    Moreover, non-Jewish students can and have been targeted for violence and

harassment based on the assumption that they are Jewish. A survey conducted across several

universities by the ADL concluded: “Slightly less than one in five (18.8%) non-Jewish students

reported having personally experienced an antisemitic incident. Of the non-Jewish students

erroneously assumed to be Jewish, nearly half (47%) stated that they had been targeted based on

their assumed Jewishness.”

        212.    And to repeat, the impact of antisemitism on campus is not limited to those directly

targeted by antisemitic harassment or violence.       As the ADL found: “The consequences of

antisemitic victimization on campus were widespread for both Jewish and non-Jewish students.

Jewish and non-Jewish students alike reported suffering serious negative effects as a result of

experiencing/witnessing incidents, highlighting the damaging effects of campus antisemitism on

overall health and the social, academic, and professional lives of student victims.”

        213.    Accordingly, all of MIT’s students, both Jewish and non-Jewish (Israeli and non-

Israeli), are victims of MIT’s failure to uphold its policies and curb hateful antisemitic (and

antizionist) rhetoric.




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      XII.      Plaintiffs’ Damages

         214.   Plaintiffs and the SCLJ Members are, or were at all relevant times, enrolled as

students at MIT, and are, or were, damaged, inter alia, by the loss of the college experience for

which they were obligated to pay, as well as the harm they endured, and the damages incurred as

the result of the necessary actions taken by them in order to avoid the harmful environment created

by MIT, including its culpable inaction.

         215.   Plaintiffs and SCLJ Members all personally experienced pervasive and objectively

offensive harassment by school peers, faculty members, staff members, and/or administration at

MIT on the basis of their Jewish and/or Israeli identities consisting of antisemitic harassment,

prejudice, and abuse which deprived Plaintiffs and SCLJ Members of educational opportunities or

benefits, including but not limited to the use of school facilities and academic buildings,

participation in student groups, full participation in academic offerings such as study groups or in-

person classes. Plaintiffs also did not receive the benefit of equal application of MIT policies, in

that MIT chose not to enforce nondiscrimination and harassment policies to protect Jewish students

and selectively enforced other policies against Jewish and Israeli students but not against other

students.

         216.   All Plaintiffs and SCLJ Members have MIT-issued email addresses and

participated in various MIT student groups. Following the October 7 terrorist attacks, MIT student

groups, including but not limited to MIT CAA and Palestine@MIT, used the MIT email system to

send mass emails to all MIT students who were members of student groups. 112 These emails




112
   MIT provides all student groups, regardless of funding status, with the privilege of using MIT’s
name as well as the ability to use MIT’s email system to communicate with the entire MIT
community at their official MIT email addresses. See https://asa.mit.edu/group-
privileges/compare-privileges


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included antisemitic and anti-Israel rhetoric which, among other things, challenged core elements

of Plaintiffs’ and SCLJ Members’ identities. MIT and its administration knew or should have

known, not only that the emails existed and were widely distributed throughout the MIT student

body, including to Plaintiffs and SCLJ Members, but also that such content violated MIT’s

nondiscrimination and harassment policies. MIT’s decision to allow its email system to be used to

facilitate these communications, which were sent to Plaintiffs and SCLJ Members, in addition to

the wider MIT community, was clearly unreasonable.

       217.    MIT students and MIT student groups engaged in rallies and protests on MIT’s

campus in which antisemitic and anti-Israel rhetoric was used and calls for violence against Jewish

people, Israelis, or the state of Israel were made. These events were held in common areas on

MIT’s campus in which Plaintiffs and SCLJ Members often had to pass through in order to attend

class or student activities, and, in doing so, were subjected to antisemitic rhetoric and calls for

violence or, alternatively, prevented from passing through spaces by protesters. MIT had actual

knowledge of these protests and rallies, but did not take action to enforce time, place, and manner

restrictions to ensure that students could comfortably and safely attend class without being

subjected to hateful language, assaults, or calls for violence. Nor in most of these instances did

MIT discipline students for MIT organizations for the MIT policy violations related to these

protests. These deliberate decisions on the part of MIT and its administration are clearly

unreasonable and evince deliberate indifference to the experiences of Jewish and Israeli students

at MIT confronted with antisemitism. All Plaintiffs and SCLJ Members were subjected to

antisemitic rhetoric at protests and rallies on MIT’s campus.

       218.    Plaintiff Meyer met with IDHR regarding antisemitism she experienced at MIT

before and after October 7, 2023. After the October 7, 2023, Plaintiff Meyer was the recipient of




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antisemitic comments by other students on campus and contacted the IDHR again. She was falsely

told that she was not a member of a protected class and, subsequently, that what she experienced

is not within the scope of the IDHR. MIT and its administration knew or should have known that

Jewish and Israeli students are members of a protected class under both MIT policies and Title VI

of the Civil Rights Act.

       219.    Plaintiff Boukin was subjected to antisemitic chants and violent speech at the MIT

Lobby 7 protest and was prohibited from freely moving through the space. Plaintiff Boukin was

similarly subjected to hateful and antisemitic rhetoric during various other protests and rallies on

MIT’s campus since the October 7, 2023 terrorist attacks. At one point, Plaintiff Boukin and other

students were surrounded by MIT CAA members and other students shouting “from the river to

the sea.,” which Plaintiff Boukin understood to be calling for the elimination of Israel. For Plaintiff

Boukin, this was reminiscent of other periods in history, including Kristallnacht. Plaintiff Boukin

was the recipient of emails on her official MIT-issued email address from student groups that

contained antisemitic language.

       220.    SCLJ Member #1 received antisemitic emails on his MIT-issued email address

from various student groups at MIT, including but not limited to MIT CAA and Palestine@MIT.

SCLJ Member #1 was also subjected to antisemitic rhetoric in various common spaces on MIT’s

campus, which were the sites of rallies or protests, including unsanctioned ones, and which

involved antisemitic and sometimes violent language to describe Jewish or Israeli people.

       221.    Other Jewish and Israeli students at MIT have had similar experiences. Another

Jewish student personally witnessed calls for violence against Jewish people and Israelis on MIT’s

campus and in particular at an MIT CAA protest in Lobby 7, which this Jewish student had to pass

through in order to attend class. Subsequently, this student stopped attending classes in-person and




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delayed taking their qualifying examinations until a later date. This Jewish student is a participant

in various student groups on MIT’s campus, but the other participants in these student groups have

endorsed antisemitic and anti-Israel views such that that Jewish student no longer feels welcome.

Another Jewish student felt unwelcome to the point of needing to leave her qualifying exam study

group after group members told her that the victims of the October 7, 2023 Nova music festival

massacre in Israel deserved to die and was forced to remove an Israeli flag and a banner that stated

“No excuse for terror” while non-Israeli flags and banners remained up around campus. Multiple

Jewish and Israeli students reported the antisemitic harassment they experienced to MIT’s

administration.



                                       CLAIMS FOR RELIEF

                                              Count One
                              (Title VI of the Civil Rights Act of 1964)

       222.       Plaintiffs and SCLJ Members repeat and reallege the allegations of the preceding

paragraphs as though fully stated herein.

       223.       MIT receives financial assistance from DOE and is therefore subject to suit under

Title VI of the Civil Rights Act of 1964.

       224.       Discrimination against Jews—including based on actual and/or perceived identity

of being Jewish, including as having a shared ancestry, race, ethnic characteristics, and/or national

origin—is prohibited under Title VI, including in the written policies of OCR.

       225.       The Plaintiffs in this Count One, or their members, identify as Jewish or Israeli, and

their status and identification as being Jewish or Israeli brings them within the scope of Title VI’s

protections.




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       226.    The acts and omissions of MIT and its administrators have subjected the Plaintiffs

in this Count One, or their members, to discrimination on the basis of their actual and/or perceived

identity as being Jewish and/or Israeli, including as having a shared ancestry, race, ethnic

characteristics, and/or national origin.

       227.    MIT and its administrators had actual notice that discrimination and harassment,

over which MIT had substantial control and the authority to remediate, was so severe, pervasive,

and objectively offensive that it created a hostile environment based on actual and/or perceived

identity of being Jewish and/or Israeli that deprived the Plaintiffs in this Count One, or their

members, of full access to MIT’s educational programs, activities, and opportunities.

       228.    MIT and its administrators have intentionally discriminated against the Plaintiffs in

this Count One, or their members, because of their actual and/or perceived identity of being Jewish

and/or Israeli, as exhibited by MIT’s deliberate indifference to the antisemitic abuse, harassment,

and intimidation of such Plaintiffs, or their members, in violation of Title VI. Specifically, MIT

and its administrators’ response to the antisemitic abuse, harassment, and intimidation of Plaintiffs,

or their members, was clearly unreasonable in that they failed to cure or otherwise adequately,

appropriately, and meaningfully address, ameliorate, or remedy the discrimination against such

Plaintiffs, , or their members, and the hostile environment that Jewish and/or Israeli students,

including such Plaintiffs, , or their members, are forced to endure at MIT because of their actual

and/or perceived identity of being Jewish and/or Israeli. Further, MIT has failed to take effective

steps reasonably calculated to end the harassment, eliminate any hostile environment, and prevent

the harassment from recurring. Such unlawful deliberate indifference caused the Plaintiffs in this

Count One, or their members, to be subjected to a hostile educational environment.




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           229.   The environment at MIT, which has been rendered hostile for the Plaintiffs in this

Count One, or their members, as a result of their actual and/or perceived identity as being Jewish

and/or Israeli, is sufficiently severe, pervasive, persistent, and offensive such that it has deprived

such Plaintiffs, or their members, of equal access to the educational opportunities and benefits that

MIT provides to non-Jewish or non-Israeli students.

           230.   MIT and its administrators have actively and intentionally engaged in this pattern

of severe and/or pervasive discrimination.

           231.   MIT and its administrators also directly and intentionally discriminated against the

Plaintiffs in this Count One, or their members, with such Plaintiffs’, or their members’, actual

and/or perceived identity being a substantial or motivating factor in MIT’s actions, including

inaction.

           232.   MIT has failed to act or has acted with leniency and/or delay in applying its policies

when a known or reported incident involved antisemitism or where actual and/or perceived Jewish

students, including the Plaintiffs in this Count One, or their members, were involved. As detailed

above, MIT’s actions and conduct were, and continue to be, intended to treat students such as the

Plaintiffs in this Count One, or their members, differently as compared to dealing with incidents

involving other, similarly situated students who are not actually or perceived to be Jewish and/or

Israeli.

           233.   MIT’s violations of Title VI were the actual, direct and proximate causes of the

injuries of the Plaintiffs in this Count One, or their members.

           234.   As a result of the foregoing, the Plaintiffs in this Count One, or their members, have

suffered, and continue to suffer, substantial damages in an amount to be determined at trial.




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       235.    The Plaintiffs in this Count One, or their members, are also entitled to appropriate

injunctive relief under Title VI, as MIT had knowledge of, and has been and continues to be

deliberately indifferent to, a discriminatory and hostile environment that is severe, persistent, and

pervasive.

       236.    The Plaintiffs in this Count One are entitled to attorneys’ fees and costs pursuant to

42 U.S.C. § 1988.



                                  JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury for all issues so triable.



                                     PRAYER FOR RELIEF

       WHEREFORE Plaintiffs pray and request that a judgment be entered in each of their favor

and against Defendant, as follows:

   1. Injunctive relief enjoining Defendant and its agents from establishing, implementing,

       instituting, maintaining, or executing policies, practices, or protocols that penalize or

       discriminate against Jewish students, including Plaintiffs, or their members, in any way

       and ordering Defendant to take all necessary and appropriate remedial and preventative

       measures including, but not limited to: (i) terminating administrators, professors, or other

       university employees or staff responsible for the antisemitic abuse permeating the school,

       whether because they engaged in it or permitted it, and (ii) suspending or expelling students

       and/or student groups who engage in such conduct;

   2. An injunction preliminarily and permanently requiring Defendant to enforce its policies

       cited in Section II of this Complaint on an evenhanded basis, ensuring that Jewish members




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      of the MIT community are protected, with respect to their physical safety and otherwise,

      from discrimination and harassment on the basis of their Jewish identity, including those

      for whom Zionism is an integral part of that identity.

   3. An injunction preliminarily and permanently enjoining Defendant from (i) permitting

      registered student organizations from discriminating against and/or harassing Jews; (ii)

      funding any student organization that discriminates against or harasses Jews; and (iii)

      granting official recognition or funding to any student organization that discriminates

      against and/or harasses Jews;

   4. An injunction preliminarily and permanently mandating that Defendant take action to end

      the hostile environment on campus by (i) communicating to the entire MIT community by

      broadcast email or a similar medium, that MIT will condemn, investigate, and punish any

      conduct that harasses members of the Jewish community, or others on the basis of their

      ethnic or ancestral background; (ii) providing education about antisemitism, including by

      conducting mandatory training for administrators and professors; (iii) instituting strict

      review and approval policies to ensure that the administration does not conduct, or finance,

      programs that will result in the harassment of or discrimination against Jewish students of

      the MIT community, including those for whom Zionism is an integral part of their identity;

   5. Compensatory and punitive damages in amounts to be determined at trial;

   6. Reasonable attorneys’ fees, the costs of suit, and expenses;

   7. Pre-judgment interest and post-judgment interest and the maximum allowable rate

      permitted by law; and

   8. Any such further relief as the Court deems just and proper.

Dated: March 7, 2024




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Respectfully submitted,


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     EXHIBIT
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    Detailed description of key events affecting the Jewish and
                    Israeli Community at MIT

                                      February 26, 2024



This report documents the rise of antisemitism at MIT in the year that lead up to the October 7
attack, and the eruption of hostilities towards Jews and Israelis that ensued. The data collection
and recording was a collaborative effort among faculty, students, and staff, representing a broad
cross-section of the affected community.

This is not a fully comprehensive report. Events have been anonymized where possible.
However, several reports have been omitted to protect the identities of individuals within this
small community. For this same reason, witness accounts have only been selectively included.

We hope that in reading this document you can obtain an inside view into the experience of
Jewish and Israeli members of the MIT campus. We further acknowledge that other communities
at MIT are also affected by the current situation on campus. The Jewish and Israeli community,
as a whole, stands in solidarity with anyone experiencing personal pain and trauma. This report
is not meant to diminish the experiences of others.

While we are living through a national crisis, affecting many academic institutions, MIT has a
unique social fabric, and our experiences here have not mirrored those in other institutions. To
preserve this fabric and refocus the institute to its core mission, MITs faculty and its leadership
must work together. We hope that this report is a first step in helping the broad MIT community
to understand the challenges persisting on our campus, in order for us all to be able to heal MIT
together.




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October 22nd, 2022: CAA, CIS, Anthropology and WGS Co-Host Mohammed
El-Kurd
MIT’s Center for International Studies (CIS), Department of Anthropology, Women’s & Gender
Studies (WGS) department, and the CAA, co-hosted Mohammed El-Kurd. According to the
Anti-Defamation League (ADL) – the leading anti-hate organization in the world whose mission
is “to stop the defamation of the Jewish people and to secure justice and fair treatment to all” –
El-Kurd “has accused Israelis of eating the organs of Palestinians and of having a particular lust
for Palestinian blood. He has compared Israelis to Nazis, negated the historic Jewish connection
to the Land of Israel, and vilified Zionism and Zionists.”

Concerned students contacted both the CAA and MIT WGS about Mr. El-Kurd’s history of
spreading racist conspiracy theories about Jews, yet the event continued as planned.
Consequently, Mr. El-Kurd proceeded to make numerous fallacious and defamatory allegations
at the MIT event, asserting that students at MIT who served in the IDF had tied up and gassed
Palestinian children. He even said, “I hope every one of them [IDF veterans] dies in the most
torturous and slow ways,” although Israel holds a mandatory draft law (similar to many
European countries). In so doing, El-Kurd used his platform as an invited guest to humiliate and
incite hatred against specific students – Israeli students – without evidence, and express support
for violence against them on our campus.

This explicitly violates MIT harassment policy. In her congressional testimony, President
Konbluth testified that, according to MIT policy, if calling for the genocide of Jews is “targeted
at individuals” it can be considered harassment. Mr. El-Kurd’s incitement was unmistakably
targeted at specific individuals. He didn’t have to reveal their identities in public or provide proof
for his slanderous statements; to Mohmammed El-Kurd, violence against Israelis is noble.

We emphasize that while we defend our commitment to free speech on campus, including those
whose ideas we may find abhorrent, there must be a clear standard to disqualify the invitation of
speakers who promote harassment and advocate for violence against members of our community,
either personally or as an ethno-religious group.

An article published in The Tech raised a flag about this event and the future issues it will bring
to campus.

April 18th, 2023: Defacing Jewish Holocaust Commemoration Display
A display commemorating the Jewish Holocaust in Lobby 7 was marked with “Free Palestine”
slogans on Holocaust Remembrance Day. While the perpetrator of this act is unknown, the CAA
proudly promoted this action through their Instagram account.

Note: All “Stop antisemitism” and “Fight antisemitism” markings in the picture below were
added after the “Free Palestine” marking and possibly in response to it.


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April 30th, 2023: Nazi Swastika Drawing on a Jewish Faculty Board
The notorious Nazi symbol was drawn on a board belonging to the
research group of a Jewish faculty member, between two students’
offices. The PI’s name is listed on the doors and is identifiably
Jewish.

While MIT police were contacted and a complaint was filed with
them, the Jewish faculty member has not yet received an update nor
indication of follow-up actions.




October 8th, 2023: CAA Justifies Hamas’s Oct 7th Massacre
Statements providing unequivocal support, justification, and glorification of the massacre of
unarmed civilians committed by Hamas in Israel on October 7th were sent to the MIT student
body and publicized on associated social media platforms. Specifically, the CAA sent out an
email to all MIT undergrad dorms, put out a statement with the Palestine@MIT group, and
posted it on their social media accounts (Instagram, and X/Twitter) starting on October 7th and
the days immediately following. This was done when the gruesome extent of the massacre was




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already clear, yet well before any Israeli military response occurred and any innocent Gazans had
yet been caught in harm’s way.

These statements included (see examples below) "Victory is ours,” “...affirming the right of all
occupied peoples to resist,” “this resistance is 100% predictable and justified,” "Palestinians
cannot invade Palestine,” etc. The fact that this letter was published on October 7 and explicitly
references violence in the context of affirming a right to resistance makes it indisputably clear
that the letter aimed to provide support and justification for the October 7 massacre and the
taking of hostages. One of their posts on “the resistance rises” was signed by the “Samidoun”
organization, a known affiliate for the recognized terror organization “Liberation of Palestine”.

Additionally, the CAA called for supporters to attend the Cambridge rally that took place on Oct
9th that declared ‘victory’ in celebration of these heinous attacks. This was their joint statement
sent via email to the MIT community.

Selected Examples:




CAA posts on, and soon after, Oct. 7:




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October 10th, 2023: Chalking on MIT property
Students chalked "Free Palestine", "Resist the Oppression", and more anti-Israel slogans on the
steps of Lobby 7 and elsewhere on campus. (“From Hamas” statements were added by other
students in response). Again, these slogans on social media were posted right after the October
7th massacre, not before, thereby unambiguously sending a message that the massacre was in
their minds a justified form of resistance.




October 17th, 2023: Misinformation Spread
Following a news story that Israel had deliberately attacked a large hospital in Gaza killing 500
people, which later was retracted as erroneous, an email was sent out by the CAA and affiliated
organizations repeating the false claim that Israel was to blame. This was sent to the entire MIT
undergraduate student body, despite rebuffing by the U.S. Senate Intelligence Committee, the
Wall Street Journal, and others. The CAA has not, to this date, retracted their irresponsible
statement, nor did they seek contrition for spreading such falsehoods on campus. Instead, one


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Jewish student who responded in an attempt to set the record straight was subsequently accused
of “denying an active genocide.”

Mistakes may be excused if the perpetrator expresses contrition. However, this claim was
deliberately sent to the entire MIT undergraduate class (over 4,500 students) with no
accountability for its impact.




*
 Evidence that the damage was caused by a mid-flight failure of an Islamic Jihad rocket: NYT, WSJ, CNN, NPR. Additionally,
The Senate Intelligence Committee, as well as President Joe Biden, have confirmed this investigation.



October 19th, 2023: Incitement and harassment calls at a CAA Rally
A CAA rally, held outside the Student Center, included chants of “One Solution: Intifada
Revolution” and “From the river to the sea, Palestine will be free.” Some protesters directly
harassed Israeli students who were filming the protest quietly and unobtrusively from the side.
One protester held their bicycle up as if to threaten an Israeli student, before getting very close to
her and saying “Your ancestors [referring to Holocaust victims] didn’t die to kill more people.”

Slogans such as “Intifada revolution” and “From the river” are typically assigned explanations
that place them in a non-harassing context, while for Israelis, and many Jews, they have far
darker meanings. In the past, the Arabic word Intifada (“shaking off”) had non-violent
connotations, and “Free Palestine” usually referred to Palestinian self-determination.         Yet
“Intifada” was the name Palestinians gave to two increasingly violent periods in recent history
that provoked a campaign of suicide bombings that terrorized Israel in the early 2000s.
Moreover, the slogan “from the river to the sea” originated in Arabic during the foundation of the
State of Israel to denote that the partition of Israel into Jewish and Arab states was invalid and
that “from the river to the sea, Palestine will be Arab (or Islamic)” (cf. this Wikipedia article).
So, once again, context matters: with these phrases being used in the aftermath of a massacre of
Jews, it is obvious for Jewish listeners to hear the threatening interpretations of these phrases.


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Members of our community, especially ones of Israeli descent, experienced the violence of the
intifadas and rejected any notion that the term means anything other than violence against
Israelis. For members of the MIT community to fail to take this into account despite our many
attempts to decry the use of such language, when the same ideas regarding Palestinian
self-determination and freedom can be communicated with different terminology, is to fail the
MIT policy of “respect for the rights, differences, and dignity of others.” Ignorance of the
connotations of these terms cannot be an excuse, especially when used repeatedly over the
course of several months.

October 23, 2023: CAA Interrupts Classes to Spread its Propaganda
The MIT CAA staged a ‘classroom walkout’ at 11:30 AM, i.e. during class time. MIT instructed
lecturers to: “exercise flexibility, where you can, for any students who wish to engage in limited
protests about matters that are important to them. Students who wish to participate should do so
in a way that respects the need of others to continue their instruction in the class.”

Despite the clear instruction to allow the general student body to continue their studies, some
lecturers chose to end their class at 11:30 to support this action, which clearly failed to respect
the need of others to continue their instruction in the class. The walkout also violated the MIT
time and manner procedures for protests. More troublesome, some lecturers who wanted to
continue their educational mission were disrupted by chants of “Free Palestine” from those who
left. See here for 3.091, Introduction to Solid-State Chemistry, and here for 18.06, Linear
Algebra, among others.

Additional violations of MIT policies, include placing posters on all lecture halls seats to
advertise the walkout.




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October 30, 2023: CAA “Die In” in Lobby 7 (Banned Protest Space)
The CAA publicly advertised and then ran a “die-in,”. They posed inside
Lobby 7 and disrupted foot traffic, despite rules prohibiting such indoor
demonstrations.

This was the first of several deliberate protest acts to disrupt normal
conduct and movement through the main entrance of MIT. We emphasize
that this is certainly not an antisemitic event, and at the same time, it is a
violation of MIT rules which we did not enforce and thereby ‘opened the
door’ to the more severe and antisemitic violations reported below.

November 2nd, 2023: CAA Disorderly Behavior at MISTI
and the President’s office, Harassing Staff and threatening Faculty
After launching a campaign against the MISTI-Israel Lockheed Martin Trust Fund, the CAA
protested at the MISTI (MIT International Science and Technology Initiatives) offices, harassing
MISTI staff. To quote a faculty member present at the event:

       “They insistently rattled the door handles of offices that were closed with staff inside;
       and they congregated outside of and entered the office that facilitates MISTI’s
       programming in the Middle East, and at least one other office. Their chants included:
       ‘From the river to the sea…’, ‘MISTI, MISTI, you can’t hide,’ and cries associating
       MISTI with genocide”



After the incident, many staff reported feeling alarmed, intimidated, and afraid during the protest.
Some staff members said they felt trapped in their offices, anxious about the prospect of verbal
and physical assault. Rattling door handles is not necessary to convey speech; it is a precursor to
physical violence.

The students later protested outside the office of the faculty director of MIT-Israel MISTI
program, linking his name specifically with their claimed ongoing genocide. The faculty member
felt threatened and did not return to campus for several weeks, due to personal safety concerns.

Last, the students also forcefully stormed into MIT President Sally Kornbluth's office, who
wasn't present at the time. A police officer was subsequently placed outside the President’s
office, indicating a real concern for her safety and that of her staff following this event.

November 8th, 2023: Posted “Sally You Can’t Hide” on Social Media
A video was posted on the CAA's Instagram account showing a poster with President Sally
Kornblunth’s name with painted blood. This poster, which some students report seeing as posting


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an implicit threat of violence due to the use of ‘blood font’, was later
publicly used at the CAA's illegal blockade on Lobby 7. Explicit
references to a specific Jewish Professor involved with the MISTI-Israel
program were also listed on posters, requiring that they “end the fund”
(terminate an educational program). In the context of the forthcoming
blockade, many perceived this as an act of threat and intimidation.

November 8th, 2023: Faculty Letter, Rules Clarification and
DSL Meeting
Following the MISTI protest and harassment of MIT employees, and in anticipation of the
Lobby-7 blockade, over 100 faculty signed an urgent letter to the administration asking them to
enforce the MIT rules moving forward. On the same day, the Division of Student Life (DSL) sent
a letter to all students clarifying the rules for campus protests and announcing procedures for
accelerated action on reports of harassment and discrimination, including use of interim
disciplinary action. Later that day, the CAA announced they would continue with the Lobby-7
blockade, despite the DSL email and its clear statement that rules violations can be subject to
immediate disciplinary consequences.

November 9th, 2023: Blockade Rally Out of Control
The CAA announced a full-day blockade of Lobby 7, in clear violation of MIT’s protesting
policies. Following repeated requests by members of the faculty, MIT’s long-standing protest
policy was sent to all members of the MIT community as a reminder of what actions are allowed
on campus. The CAA chose to ignore MIT’s guidance and announced that they would proceed
with the illegal blockade.

Following the CAA’s decision to disregard MIT’s policies, DSL called for a meeting with leaders
of the Jewish community, asking them to avoid counter-protesting the CAA blockade. In light of
the numerous events that took place the weeks before, and the rules clarification shared with the
community, the meeting attendees asked what consequences there would be for this unlawful
protest. Despite acknowledging their ability to enact interim disciplinary action to handle the
blockade, DSL did not offer assurance that this event would be handled differently than past
events or that it would lead to consequences this time. The meeting attendees expressed their
concern about MIT’s lack of a concrete action plan for handling the planned blockade or past
events. They explained that incitements to aggression against the Jewish community had become
unbearable for them, that they were being dehumanized on campus, and that they felt that this
time they must stand and show their humanity on campus.

By not ensuring clear physical separation between the groups, MIT unintentionally facilitated a
direct interface between the groups, which risked turning physical.




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Seeing a real risk for a physical altercation, MIT leadership used its interim action policies and
issued a warning at noon that all students remaining in Lobby 7 after 12:15 pm would be subject
to suspension (including any personal ramifications such action can lead to). The letter was
handed to the students by faculty and student support staff, who clarified that this instruction
came directly from the president.




Although the Jewish counter-protesters left, without exception, CAA protesters chose to stay and
defy the President’s orders.

Later in the day, following social media calls by the CAA, numerous unaffiliated non-student
protesters arrived to join the protest and flood the Lobby 7 area. Warnings were subsequently
issued by the MIT Police and by Hillel to avoid Lobby 7.




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Later, while students were still refusing to leave Lobby 7, the Department of Urban Studies
(DUSP)t Head and DEI officer reached out through an official email. They did not condemn the
students' breach of MIT rules, nor urge compliance with the MIT leadership's directive to vacate
the area. Instead, they inquired whether the students had received further notices from the
Institute regarding potential suspensions. The message was interpreted by many students as an
indication that the Department supports the CAA students in their stance against the MIT
administration and would defend them from the consequences of breaking MIT’s policies. The
DEI Officer for DUSP who cosigned this email, Sophia Hasenfus, had previously endorsed
X/Twitter posts stating that "Israel doesn't have a right to exist" and denied the beheading of
infants on October 7th, as seen here (the X account is no longer public).

November 12th, 2023: Boston Rally Blocks Mass Ave
The CAA co-sponsored a rally that came to protest at MIT,
blocking Mass Ave and entrances to Lobby 7. Chants calling to
“Globalize the Intifada” and “There is only one solution: Intifada
revolution” rang through MIT’s campus. As mentioned above, it
is widely known that in the context of Israel many uses of
“Intifada” refer to violence against civilians. Calling for it to be
globalized, in the context of the 10/7 massacres, was reported to
have raised fear among Jewish students who worry this violence
could target them here at MIT. Many Jewish students reported
locking themselves in their dorms out of fear of being harmed by these non-MIT protesters, and
many decided to travel home because it was too much to handle.

Speeches delivered that day were directly aimed at inciting violence, for example:

       “It is our duty to fight… history requires trouble… resistance is resistance…it is not
       enough to exist passively…not enough for us to come out and march…we have to shake
       history with our own two hands…when we free Palestine the whole damn world is
       coming with us…resistance requires sacrifice.”

The leaders of the CAA also delivered speeches taunting MITs administration for backing down:

       “Sally Kornbluth is new to MIT; she doesn’t know how we operate yet. We won't back
       down (repeated manyfold)…We stood up to one of the most powerful institutes in the
       world and got THEM to back down!”




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November 13th, 2023: Online bounty on Jewish student
Videos from the Lobby 7 blockade are being posted online. First by MIT students and then
shared by others. One Jewish student in particular was identified trying to enter the Infinite
directly, walking through students blocking their way.

A carefully edited video showing only a small part of the
full incident (e.g. omitting parts where Jewish students
were shoved) was shared online and went viral. The
popular Twitter page “Stop Zionist Hate” shared the
video, offering a $800 bounty to anyone who can identify
the student. The student was named soon after and a
different post appears stating that “he is wanted all over
campus and the city. Zionism and Israel are the scourge
of humanity. His head should be crushed wherever he is
seen.”

This is the most egregious case of Doxxing we are aware
of. The student stayed locked up in their dorms for weeks
with their friends bringing food, check-ins from the
police, and their family terrified for their safety. While
less extreme, there are unfortunately many more cases of
Doxxing, promoted explicitly by MIT students.

MIT has an off-campus misconduct policy, which it can
choose to apply to online behavior, just as it would to
real-world altercations between students on the Boston Common. We are not aware of CoD
reviews of student Doxxing incidents and are hoping they are indeed being done.

November 14th, 2023: Announcement STAH initiative
A new campus-wide initiative has been announced: Standing Together Against Hate (STAH).
The announcement talks about the rise of antisemitism in the world and how we cannot let it
poison our community. It says that “antisemitism will be our initial primary focus” and that a
“group within it [STAH] will spearhead efforts to combat antisemitism at MIT, and we'll
announce the leaders soon”. The leaders were never announced.

November 14th, 2023: “Whatever means possible:” Safety Concerns Stoke
Fear
Several instances in which non-Jewish students were exposed to hateful and troubling behaviors
have been reported. Such incidents have been communicated as warnings to Israeli/Jewish
friends to keep out of harm's way, or directed towards non-Jewish students who would not


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disavow their Israeli friends. In some settings, students shared that they were required to express
support for Palestine and/or condemn Israel in order to be included in parties. In other settings, if
they are not willing to take a side, they are told that they are “genocide supporters”.

In the example below, a non-Jewish student shares a distressing account of the hostile
environment on campus after witnessing fellow students condoning violence. Note the “by any
means possible” rhetoric, which has been normalized on campus.




November 15th, 2023: Recording the MIT Faculty Meeting
An Institute-wide faculty meeting was convened to discuss the situation on campus. Students
from the CAA attended, which is highly uncommon but allowed by MIT rules. After the
meeting, videos were circulated on social media, showing the president addressing selected
faculty comments. Sound recordings of individual faculty were also disseminated, even making
it to NPR. The recordings and videos were reported to have been edited to include only selected
statements, allowing them to be presented out of context. This led to the Faculty receiving harsh
responses, accusing them of promoting extreme stands (e.g. against DEI), which they never did.
To the best of our knowledge, information from a faculty meeting was never disseminated
publicly and in such a falsifying manner.

The students also attended the next institute-wide faculty meeting on February 20th. This time as
a larger group, with one even carrying a drum. At the beginning of the discussion session, a
faculty member called an executive session. The motion was supported by the faculty and the
students were instructed to leave. The meeting continued without interruptions.


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November 16th, 2023: Chaplain event incites hatred against jews
A student attending an event titled “Planetary Health: Indigenous Land, Peoples, and Bodies”
hosted by an MIT Interfaith Chaplain, reports that the chaplain repeatedly diverted the discussion
to proclaim Israelis as white European colonizers and Palestinians as oppressed people of color.
e.g., “[Palestinians are] wrongfully subjugated and oppressed by racist white European
colonizers”. Towards the end of the event the Chaplain was reported to have asked the Jewish
students to self-identify when serving dessert. Students attending the event reported feeling fear
and dismay at this behavior by an MIT staff member, who still holds a student-facing role today.

Students report that the Interfaith Chaplain in question participated in the “victory is ours”
November 9th protest, was a speaker at the November 12th protest that blocked Massachusetts
Ave, and was a participant at the CAA’s “artmaking” event on February 8th which was organized
to create materials for the group’s unsanctioned protest on February 12th. The Chaplain is
reported to frequently underscore the singularity of Palestinian Indigeneity at CAA events,
without any mention or reference to the written history of Indigeneity of Jews. While everyone is
entitled to their own personally held beliefs, one can question the appropriateness of such active
participation in CAA events by an MIT employee serving in a student-facing role, and who
should be a resource to all members of our community.

The behavior of this Chaplain was reported to IDHR by a student whistleblower, who hoped to
stay anonymous for fear of retaliation. However, despite the daming claims put forth, and the
fact that the event described in the complaint was public with several witnesses that can be
contacted to corroborate the complaint, IDHR decided not to investigate it. This interfaith
Chaplain, who preaches antisemitism, is still employed by MIT in this role. The ordeal of the
anonymous student who reported this to IDHR, and was later forced to identify, is detailed in this
document (link). The initial report, which was sent also to members of MITs’ senior leadership at
the time, is pasted below:




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November 27th, 2023: DEI Issues Left Unaddressed
A departmental DEI officer endorsed posts online claiming, among other things, that “Israel
doesn’t have a right to exist, it’s an illegitimate settler-colony like the US.” and denying the Oct.
7th massacre: “The actual president said he saw photos of beheaded babies that he didn't
actually see (because they don't exist because it didn't happen), and I just think we need to
unplug the propaganda machine”. Students reported that this officer was also actively working
with the CAA to arrange their rallies.

In a different case, an MIT postdoc was reported to spread blood libel propaganda and hate
speech, e.g.:

       “Seriously, at what point do we consider Zionism to be a mental illness? … Then I
       thought.. ironically, here I am believing that Zionist Israelis are Jewish fundamentalists
       who want to enslave the world in a global Apartheid system and destroy the lives and
       livelihoods of anyone who dares to dissent.”

Later the postdoc admitted: “Sorry, am I sounding antisemitic?” In other posts, they accused
“Zionists” (which many in the MIT community are) of organ harvesting, and compared Israelis
to Nazis.




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In response, a concern was raised to the postdocs departmental DEIJ (Diversity, Equity,
Inclusion, and Justice) representatives. The DEIJ officer acknowledged the pain that this person
is causing to students, but questioned if their posts are in-fact antisemitic. They went on to claim
that the conspiracy theory that “Zionists” harvest organs of Palestinians is based on “confirmed
reports,” and exposing ignorance with regards to modern antisemitism that substitutes “Judaism”
with “Zionism” to avoid being called antisemitic. Rather than unquestioningly acknowledging
the issue and offering concrete support to the students (as commonly accepted to be the practice
of DEIJ), this DEIJ officer discouraged the victims from even reporting it: “I would be very
cautious before accusing any one of our colleagues, staff, or trainees of hate speech.”




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The two reports above showcase extreme incidents where Jewish community members felt the
MIT system failed them. Joined with the Chaplain incident (see Nov 16 above), members of the
Jewish community report that they feel alienated by the very structures on campus that are
intended to foster a sense of inclusion and belonging.

December 4th, 2023: Antisemitism is not the priority
Despite the President’s clear message on Nov. 14th, an update by the Chancellor stated: “... we
said that antisemitism would be our initial focus. …we have come to appreciate that antisemitism
and Islamophobia – also on the rise, and often underreported – are best addressed at the same
time.” That message did not announce how the Institute will go about addressing these issues.
We are unaware of any committee formed to address antisemitism or Islamophobia at MIT as
was done, for example, at Harvard.

December 6th, 2023: CAA Hosts Speaker Encouraging Targeting of Hillel
CAA hosted Miko Peled at MIT. Despite formally being under suspension from non-academic
activities, many of the students leading the Lobby 7 blockade participated in this event. Students
in attendance reported that Miko explicitly encouraged students to combatively approach
individuals at the Hillel Center for Jewish Life at MIT:

       “You go to Hillel and whatever the mascot is here and tell them they need to answer how
       they don’t condemn the genocide in Gaza.”




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December 6th, 2023: Harassment of students at Hillel
A man with paranoid beliefs harasses people at the Hillel building. He does
not seem affiliated with MIT but does approach Jewish students and
accuses them of being Mossad agents. Later he looks through the Hillel
lounge window and starts peeing on it, in front of the students studying
there.

While the person seems to have nothing to do with MIT, it shows
conspiracy theories about Jews seem to be spreading. Combined with the
events of the past weeks at MIT, many students report becoming extremely
nervous. They are afraid and can’t find shelter even at Hillel.

December 7th, 2023: Holocaust desecration posters
Posters desecrating the memory of the Holocaust appear on bulletin boards around campus. Over
a red background, the text of the poster reads “The right and wrong way to understand Never
Again.” The QR code on the poster leads to an Instagram video of a Bob Avakian, that many
view as antisemitic and inciting.

December 13th, 2023: Karchmer Resignation
Algorithms lecturer Mauricio Karchmer resigns. His class is one of the most popular classes at
MIT, teaching ~60% of the undergraduate student body. Explaining his resignation Karchmer
writes publicly about campus events and their impact on himself and other members of the
Jewish community:




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       “Students chanted “Free Palestine” and “From the river to the sea” with fury and at
       times glee, like they were reciting catchy songs instead of slogans demanding the erasure
       of the Jewish people. Even worse, faculty members started endorsing this behavior. One
       DEI officer at MIT liked an October 17 post on Twitter stating that “Israel doesn’t have a
       right to exist, it’s an illegitimate settler-colony like the US.” On October 18, a renowned
       faculty member in the neuroscience department accused Israel of committing “genocide”
       on Twitter. Then, the next day, she tweeted that her department was seeking a “diverse
       pool of candidates” for a tenure-track position in her department’s “inclusive
       community.” I remember thinking, with bitter irony, that Jewish academics need not
       apply.”

He describes his disappointment with the one-sidedness of the faculty newsletter articles and
lack of support from his non-Jewish peers, “The only voices in the newsletter standing up for
Jews were Jewish. But we are too few to fight this battle.” And his pain for the young Jewish
students on campus:

       “Though I cringed as I read these faculty letters, and shuddered as I walked by protests
       on campus, nothing has hurt more than watching the Israeli and Jewish students—who
       comprise fewer than 6 percent of the MIT student body—suffer. ”

Dr. Karchmer is now teaching at Yeshiva University, where he feels safe and appreciated. We
strongly recommend reading his free-press article.

December 14th, 2023: Hockfield Rally Inciting Violence
At this protest, which was organized following MIT rules, crowds cheered for “armed resistance”
and to “hold a knife to their throats.” A speaker advocated pushing back against MIT, saying
“that means staying at their throats.” Once again, there were calls for “no peace.” Perhaps these
phrases were meant poetically, but again in the context of the Oct. 7th massacre, it is natural for
Jews to feel a credible fear of being physically attacked by those making such statements.

MIT Advisory for this event acknowledged the issue, and helped restore some safety to the
students:




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December 21st, 2023: Support of Houthi Terror Attacks
Two days after the US announced the creation of a naval coalition to
defend the Red Sea shipping route from attacks by the Houthi
Terrorists, the CAA posted on Instagram in defense of the terror
attacks of the Houthis, calling for the US to take their hands off of
Yemen. The accompanying post hailed the aggression of the
Iranian-backed militia as “a moral ban on Israeli commercial ships …
to exact economic pressure until a ceasefire and humanitarian aid is
achieved for the Palestinian people.” The post continued to conflate
the acts of the Houthi Terrorists with the Yemeni people. They failed
to acknowledge the role that the Houthi terrorists played and continue
to play in that war. To that end, CAA failed to acknowledge the
Houthi terrorists’ attitudes towards the US, Israel, and Jews as expressed on their flag; the
Houthi slogan reads, “God Is the Greatest, Death to America, Death to Israel, A Curse Upon the
Jews, Victory to Islam.”

January 11th, 2024: Words are Violence?
Using someone's 'deadname' is considered a “violent act”, but calling for the genocide of jews
“depends on the context.”

In her congressional testimony (Dec. 4) President Kornbluth insisted that calls for the genocide
of Jews are not necessarily bullying or harasment;they must be pervasive and depend on the
context. This appears to be at odds with the harassment training required of the entire MIT
community, where ‘deadnaming’ someone (i.e. using their ‘former’ name) is itself a violent act,
regardless of context. See screenshot below, from the section on LGBTQ+ 101 education.




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January 24th, 2024: Standing Together Against Hate Program Publication
The STAH spring lectures program is published. It includes 4 talks: one on free speech, a couple
on antisemitism and Islamophobia, and a talk about anti-Palestinian racism. No talk on
anti-Israeli bigotry or demonization of Zionism, despite the Jewish community being clear about
it being a major issue for them on campus.

The Islamophobia panelist, Dalia Mogahed, is an activist who was reported to post in a way that
endorsed Hamas terrorism as an act of lawful “resistance.” She suggested that Israelis are
"savages" who "kill babies" and "bomb hospitals" and even went as far as to insinuate that Israel
doesn’t care when its women report sexual assault complaints and usually does not believe them,
to raise doubts on reports of large-scale sexual assault on Oct. 7.

Free speech panelist Erwin Chemerinsky is a scholar, serving as the dean of the University of
California, Berkeley, School of Law. He was sued in November over "unchecked" campus
antisemitism. After the publication of the program, the title of Chemerinsky’s talk was modified
to include antisemitism: An act which many in the Jewish community described as adding insult
to injury.

We present a collection of student responses from the night the program was published:
   ● “This really sucks. I feel that MIT simply hates Israelis. I regret coming here.”
   ● “MIT admin is like actually like communally concussed or something. What’s wrong
      with them?"
   ● “MIT's way of combating hate is nuts”
   ● “I honestly don’t know what’s worse, that MIT can’t do simple fact checking before
      inviting a person, or that they did and think it’s ok inviting them despite retweeting
      statements that Hamas has a right to massacre Jews”
   ● “I couldn't care less about the speaker. It's about the Institution's decision making."
   ● “What I understand from this is that hate against Israel is ok at MIT and will not be
      addressed by STAH”
   ● “There is an Israeli saying that goes something like: "it's ok to pee in the pool, it's not ok
      to pee from the diving board”
   ● "I am trying not to react emotionally but this [denial of sexual assault] strikes a nerve for
      me.”

February 12th, 2024: Lobby 7 Takeover
In parallel to the first STAH talk about antisemitism, the CAA announced an ‘emergency rally’
protest outside the student center. The protest was not approved by MIT and was in direct
violation of the protesting rules published just days earlier. The protest included statements
against MIT’s attempt to promote dialogue: “We’re tired of dialogue across difference when
there can be no f-ing dialogue across difference”. They further incited hatred ofJews and
Zionists: “Our safety is threatened by white supremacy and the dangerous equations of Judaism


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and Zionism” and claimed that the Jewish tradition is used
to justify Israel’s “colonialist capitalist white-supremacist
agenda.” Three non-Jewish students, who were walking by
on their way out of the gym, reported concern that protest
participants were making statements that called for “Jihad”
against Israel.

They then moved the protest into Lobby-7, occupying it
again, after repeated warnings from the MIT
administration. Protestorshung flags and banners shouting
“Hear us loud, hear us clear, IOF not welcome here”. IOF,
short for ‘Israel Offensive Forces’ / ‘Israel Occupation
Forces,’ is a pernicious reference to the IDF (Israeli
Defence Forces). To many, their words are clear: Israelis
who served in the army and/or are currently serving in
reserve duty are not welcome at MIT, knowing full well
that essentially all Israeli students on campus are veterans
of its compulsory military service program.

The next day, President Kornbluth issued a statement. She shared that MIT is “suspending the
CAA’s privileges as a recognized student organization” but makes it clear that “suspending the
CAA is not related to the content of their speech.”

In talking about campus climate she acknowledges the ongoing shunning of Israeli and Jewish
members of our community (“as members of one community, we shouldn’t feel it’s OK to vilify
and shun Israeli and Jewish members of our community“) but then immediately build an
appearance of symmetry by stating
that “Equally, we shouldn’t feel it’s
OK to vilify everyone who
advocates for the Palestinian
people as supporting Hamas.” We
are aware of, and strongly
condemn, isolated incidents of
MIT       community       members
generalizing members of the
Middle-East-North-Africa
community as terror supporters.
This is reportedly happening
primarily around protests which we
understand relates to the CAA’s
public support of the Oct. 7th
massacre. However, this is not a

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wide-spread notion within the MIT Jewish community. The Jewish students groups do not hold
protests targeting their peers and are not leading an effort to socially shun other members of the
MIT community. Therefore, the administration’s insistence on building a symmetric narrative of
two groups that are holding an altercation on campus is viewed by many in the Jewish
community as a heartless action that is meant to disguise what they feel is the real situation at
MIT: one group of students is inciting hatred of another.

We do realize that many students feel that they are protesting for peace. Our goal here is to
present how this is impacting a different group of students on campus, unpeacefully. We only
intend to condemn words and acts that incite hate, even if that is not the intention of some of the
students making them.

Graduate Student Union involvement and support of the BDS
According to ADL: “The Boycott, Divestment and Sanctions movement (BDS) is an
international campaign aimed at delegitimizing and pressuring Israel, through the diplomatic,
financial, professional, academic and cultural isolation of Israel, Israeli individuals, Israeli
institutions, and, increasingly, Jews who support Israel’s right to exist… In practice, the global
BDS movement doesn’t seek to create a Palestinian state but rather aims to dismantle the Jewish
state and end the right to Jewish national self-determination on any portion of this contested
land.”

01/22/2018 meeting minutes: Decision to organize with UE over UAW includes considerations
of promoting and preserving BDS support, as shown from the discussions that lead to this
decision:




08/31/2020: Decision about which website builder to use (Squarespace over Wix) involve BDS
considerations:




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Fall 2021: MIT Hillel has a conversation with GSU leadership to ask for a guarantee that BDS
won’t be on their agenda. GSU refuses to promise anything concretely, but they do make
handwavy comments about caring about employment conditions rather than political statements.




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04/08/2022: BDS Boston congratulates GSU for winning the NLRB vote to unionize.




02/27/2023: GSU sends an email explicitly condemning anti-LGBTQ hate speech on campus. At
the same time, they made no comment about anti-Israeli and anti-Jewish hate speech on campus
since October 7th.


10/09/2023: A GSU employee who is no longer a student at MIT is interviewed on Boston 10 as
a participant of the Pro-Hamas rally at the Cambridge City Council. He justifies the Oct. 7th
massacre in his interview.




11/05/2023: GSU employee leads protest through the MISTI offices



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11/09/2023: Grad Union Reps and leadership spotted participating in the protest in Lobby 7

11/10/2023: GSU email expressing support for the Lobby 7 protest and calling on MIT to protect
students rights to protest




11/20/2023:    Graduate student
coffee hour for Palestine hosted by
GSU employee and others.

01/25/2024: GSU sends an email
announcing      that two union
members are being investigated by
IDHR for their participation in
pro-Palestinian demonstrations and
are being denied third party
representation at the investigation.
GSU falsely claims that the denial
for third party representation
violates the terms of their contract
and calls for a protest in front of the IDHR offices. CAA emails out a call for people to join the
protest.




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01/30/2024: GSU holds a rally outside of IDHR offices in support of the union members being
investigated for violation of campus rules. The rally quickly evolves into a “bash Israel fest”.

01/31/20214: Rally and post by GSU.

02/08/2024: Despite persistent attempts, Jewish students have been unable to exercise their
''religious objection'' to avoid paying dues to a BDS supporting union.

* Additional information can be found in this link.




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What is Dormspam? - A major source of distress for Jewish students
Dormspam is a campus-wide unmoderated emailing platform. It is an essential resource for
students living on campus to keep up with campus activities and events, and to obtain updates on
day-to-day dorm-related issues. Since Oct. 7, starting on the very day of the attack on Israel,
dorm-wide emails (~4,500 students) that contain rhetoric that is hostile to Jews and Israelis have
been circulated 2-4 times a week. In several instances these emails turned into heated discussions
on a campus wide platform and even into personal attacks on Jewish and Israeli students. A
number of instances have been recorded in which students not involved in the email thread
discussion were named and personally attacked.

This form of public shaming of individuals on our campus has been unheard of before Oct. 7 and
has been targeted only at Jewish and Israeli students. It has been one of the most significant
sources of distress in this community.

Several examples of messages sent via Dormspam are provided above as they relate to specific
events. Below are some additional examples. Note that since most faculty are not on Dormspam,
hence these were often shared as low quality screenshots.

Interestingly, the MIT Ad Hoc Working Group on Free Expression Report seems to have
‘predicted’ issues like the one presently on Dormspam. An analysis of a fictitious scenario that is
centered around a ‘Conflict over Student Speech’ in a residence-hall community is described in
their report (page 25-26). Therein an electronic hall-wide communications channel (similar to
Dormspam) is used to promote pro-Russian views in the context of the Russia-Ukraine war
prompting a student of Ukrainian origin to approache their Head of House (HoH) demanding that
the student responsible for these posts be banned from the house communication media “on the
grounds that his posts constitute hate speech and advocacy of genocide”. In a meeting with the
HoH, the Russian student defends his posts on the grounds of free expression. This scenario is
analyzed in light of the Mind and Hand book statement on freedom of expression:

       “Freedom of expression is essential to the mission of a university. So is freedom from
       unreasonable and disruptive offense. Members of this educational community are
       encouraged to avoid putting these essential elements of our university to a balancing
       test.”

Hence, the students’ conflict requires MIT to “undertake just such a balancing test”.

One perspective asserts that

       “Banning the student would deprive the living community of the opportunity to counter
       the posted propaganda with reasoned arguments demonstrating the extent to which his
       comments are misinformed.”



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and instead recommends a discussion with the complainants engaged on the same
communication channel to present their stance, allowing the members of their living community
the opportunity to appreciate their point of view as a Ukrainian citizen.

The second perspective states that:

       “Unmoderated mailing lists … run a risk of turning into soap boxes for people with
       strong opinions in ways that detract from the original purpose of such digital venues. It is
       highly advisable that such fora have clear and explicit purposes that allow moderators to
       shut down discussions that deviate from those purposes in a viewpoint-neutral way.”

It goes on to explain that in this scenario, while there is value in students learning the
pro-Russian arguments for the Ukraine invasion—and in practicing how to refute them—, a
hall-wide communications channel that is not generally used for political discussions “may not
be the most productive place to have such a discussion. Time, place, and manner restrictions
have a long tradition in First Amendment case law, and this scenario illustrates an application
of that tradition.” (emphasis added by us)



We note that, in both of the above perspectives, prompt action by the HoH and the dorm
community is encouraged, if by education and dialogue, or by clearly defining the appropriate
type of messaging allowed on a particular channel. In both cases a single communication on the
channel was sufficient to justify a response. Yet, on our campus, since Oct. 7, we have seen 2-4
such communications per week; distributed not to a specific dorm group, but to the entire
community of ~4,500 undergraduate students; neither of these two perspectives for action have
been implemented. In fact, the Jewish and Israeli students have been discouraged from
responding to the inflammatory emails through Dormspam - since this has been shown to prompt
personal attacks on them. Hence, the remaining option would be the second perspective.
Moderation of dorm emails is effectively done for the graduate dorm emailing lists; surely a
similar mechanism could have been applied for the undergraduate Dormspam.




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